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    ORDERED in the Southern District of Florida on June 25, 2019.




                                                        John K. Olson, Judge
                                                        United States Bankruptcy Court
_____________________________________________________________________________

                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

   In re:
                                                              Case No.: 18-15928-JKO

            Aldo A. Pina,

                                                              Chapter 7
                           Debtor.
   _____________________________________/

      ORDER SUSPENDING ATTORNEY MAITE DIAZ, DIRECTING THE CLERK TO
       FILE NOTICE IN EVERY CASE WHERE MAITE DIAZ HAS APPEARED, AND
         RECOMMENDATION OF DISBARMENT AND OTHER INVESTIGATIONS


            THIS CASE came before the Court for a hearing on June 12, 2019, upon this Court’s

   Order to Show Cause Why Attorney Maite Diaz Should Not Be Sanctioned, Directing Compliance

   With Prior Order, and Setting Hearing for June 12, 2019 [ECF 58]. Present at the hearing were

   Attorney Maite Diaz, her counsel Ramon de la Cabada, the Debtor’s Chapter 7 Trustee, Leslie S.

   Osborne, and Steven Schneiderman, counsel for the United States Trustee.        Pursuant to prior

   order, on May 31, 2019, Attorney Maite Diaz produced a bankers box of files to the Court, and the

   Court has exhaustively reviewed those submitted files.     Unfortunately, the Court has opened
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Pandora’s Jar, 1 has thereby become aware of a multitude of extremely serious violations, and is

accordingly forced to take extremely serious measures in response.

        The discovery of the issues at hand began when the Chapter 7 Trustee filed an adversary

proceeding on August 20, 2018, against the Debtor Aldo Pina seeking to revoke his Chapter 7

discharge pursuant to 11 U.S.C. § 727(a)(2), (3), and (4). 2 In the complaint [ECF 1 in that

adversary proceeding], the Chapter 7 Trustee asserts, among other things, that:


        9. The Debtor’s tax return indicates that he received a tax refund for the 2017 tax
        year in the amount of $9,182.00.

        10. Pursuant to the Trustee’s investigation of the Debtor’s assets, it appears that the
        Debtor received these funds on February 22, 2018, in his bank account, and
        immediately withdrew $9,000 in cash.

        11. There is no information on the Debtor’s bankruptcy schedules indicating what
        happened to that cash nor was any proof provided.

        15. An investigation of the Debtor’s assets shows that the Debtor purchased a four-
        bedroom home within 3 years of the bankruptcy filing. The Debtor’s schedules
        indicate the exact amount of $1,000 for household goods and furnishings, with no
        description given whatsoever.

        16. The Debtor’s schedules also appear to indicate equity in vehicles in excess of
        $12,000.

        17. The Debtor’s schedules indicate virtually no detail making it impossible for the
        Trustee to determine if the assets listed are accurately disclosed.

        18. The Statement of Financial Affairs (“SOFA”), question 9, indicates the Debtor
        was a plaintiff in a lawsuit within a year of the bankruptcy; however, any claims
        were not listed on schedule A/B.

        19. The Debtor also lists almost $200,000 worth of unsecured debt and virtually no
        assets to show for it.

1 The common parlance of “Pandora’s Box” appears to relate back to a mistranslation (whether purposeful or not)
made by 16th century Dutch humanist Erasmus. Robert E. Meagher, The Meaning of Helen: in Search of an Ancient
Icon (2002).
2 See Adversary Proceeding 18-1342-JKO, Osborne v. Pina. This adversary proceeding has now been dismissed
by agreement [ECF 18 in that adversary proceeding].

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       20. All of these were items that the Trustee planned on asking the Debtor about at
       his 341 meeting of creditors.

       21. The Debtor failed to attend the 341 meeting of creditors and the Debtor’s
       attorney failed to attend the 341 meeting of creditors.

       22. Rather than dismiss the case, the Trustee contacted counsel for the Debtor, from
       the 341 meeting room, asking why the Debtor and counsel were not present. The
       attorney simply said they did not plan on proceeding and wanted the case dismissed.

       23. Based upon the substantial outstanding questions, the Trustee was unwilling to
       dismiss the case and no motion to dismiss has ever been filed by the debtor.

       24. The actions of the Debtor in this case constitute violations of 11 U.S.C.
       §727(a)(2), (3) and (4).

       25. The actions of the Debtor in failing to file properly filled-out schedules, provide
       all financial information to the Trustee or attend his 341 meeting of creditors,
       constitutes an attempt to hinder, delay or defraud an officer of the estate by
       concealing or permitting to be concealed property of the Debtor within one year
       before the date of the filing of the petition and/or property of the estate after the
       date of the filing of the petition. These actions constitute a violation of 11 U.S.C.
       §727(a)(2)(A) and (a)(2)(B).

       26. In addition, the Debtor’s actions as set forth above constitute concealing or
       failing to keep and preserve any recorded information, including books, documents,
       records, papers from which the Debtor’s financial condition or business
       transactions might be ascertained. These actions constitute a violation of 11 U.S.C.
       §727(a)(3).

       27. The actions of the Debtor, as further described above constitute a knowing and
       fraudulent withholding from an officer of the estate entitled to possession any
       recorded information, including books, documents, records and papers related to
       the Debtor’s property or financial affairs. This constitutes a violation of 11 U.S.C.
       727(a)(4)(d).

       Two days after the filing of this complaint, on August 22, 2018, attorney Maite Diaz moved

to withdraw as attorney of record in the main case [ECF 17]. That motion was eventually granted

after a hearing on September 25, 2018, and an order granting Ms. Diaz’s Motion to Withdraw was

entered on September 26, 2018 [ECF 23]. In the meantime, the Debtor proceeded pro se in the


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adversary proceeding. Discussions among the Debtor, the Chapter 7 Trustee, and Attorney Diaz

eventually led the Chapter 7 Trustee to file his Motion for Order to Show Cause and/or for

Sanctions against Attorney Maite Diaz [ECF 31] on February 5, 2019. In that motion, the Trustee

represented that the Debtor “states that the schedules were not provided to him prior to filing and

that he did not sign the schedules that were actually filed” [ECF 31, ¶ 22]. In addition to this

incredibly alarming statement, the trustee also asserted:

         [t]here are other problems with the schedules that the trustee believes should have
         been addressed. While not all errors can be attributed to Ms. Diaz, the following
         should not have occurred: 1) failing to obtain, or even ask for a continuance [of the
         section 341 meeting of creditors]; 2) failing to obtain all information required prior
         to filing a bankruptcy; 3) filing a short-form petition three months after being
         retained; 4) filing schedules that the debtor has never seen; and 5) failing to make
         changes to the schedules that Ms. Diaz’ own notes say need to be made. Had this
         case been handled properly, it appears unlikely that a §727 action would have been
         filed against this debtor [ECF 31, ¶ 29-30]. 3


         The Court directed a response from Attorney Diaz by Order [ECF 32], and Attorney Diaz,

through counsel, filed a Response [ECF 38] on February 20, 2019. The Response largely asserted

attorney-client confidentiality issues.

         The Court conducted an evidentiary hearing on the Order to Show Cause [ECF 32] on April

3, 2019. At that hearing, the Debtor (then represented on a pro bono basis by Attorney Elias

Dsouza) 4 waived all attorney-client privileges, and both the Debtor and Attorney Diaz testified at

the hearing. As a result of evidence introduced at that hearing, the Court found that the Debtor

had not, in fact, signed the Schedules and Statement of Financial Affairs [ECF 12] filed by


3 And if this §727 action had never been filed, Pandora’s Jar may well have remained shut. The Court suspects that
Attorney Diaz has likely avoided prior detection of her actions by a Chapter 7 Trustee, the Court, or other entities,
by letting her cases be dismissed through lack of prosecution. The Court thanks Chapter 7 Trustee Les Osborne for
his continued diligence and efforts in this case. The Court also expresses its gratitude toward the Debtor, Aldo
Pina, for coming forward in this situation.
4 The Court again expresses its gratitude to Mr. Dsouza.

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Attorney Diaz on May 30, 2018. Rather, the Debtor had signed draft schedules and related

documents during a meeting with Attorney Diaz some three months earlier. The Debtor had

neither seen nor approved the Schedules and Statement prior to their filing, let alone signed them.

The Court was given the distinct impression from Attorney Diaz’s testimony that this was not a

one-off occurrence, and that in fact it was Attorney Diaz’s standard operating procedure to have

clients sign preliminary draft schedules, etc., but that such documents were later “amended” by

Attorney Diaz and never seen by her clients before they were filed with the Court electronically

via the Case Management/Electronic Case Files system (“CM/ECF”). 5

         Accordingly, and to get an understanding of the facts regarding Attorney Diaz’s practices,

the Court entered its Order [ECF 51] Directing Attorney Maite Diaz to Produce Certain Documents

Pursuant to Local Rule 5005-4(C) on April 10, 2019. That Order provided, in relevant part:

         1) Attorney Maite Diaz is DIRECTED to produce to the Bankruptcy Clerk’s
         Office addressed to Judge Olson copies of Original Signed Documents pursuant to
         Local Rule 5005-4(C) 6 as follows:

                  a.        Attorney Diaz shall produce copies of full petitions and all schedules
                            and statements of financial affairs, if filed separately from the
                            petition, signed by Debtors in each of the cases in which Attorney
                            Diaz filed the petition since January 1, 2017, together with the ECF
                            docket entry numbers of each document.

                  b.        Attorney Diaz shall produce the first page of any other document
                            required by Local Rule 5005-4(C) and the signature page, if that
                            page is separate, in each of the cases in which Attorney Diaz filed
                            the petition since January 1, 2017.



5 The Court uses “amended” as a euphemism, when it could have used “made wholesale changes” or “drastically
altered.”
6 Retention of Original Signed Documents by Registered Users. Documents that are electronically filed and
require original signatures other than that of the registered user [of the Court’s CM/ECF system] must be maintained
in paper form for at least five years from the date of discharge of the debtor, dismissal of the case, or final resolution
of all appeals pending in the case, whichever is later. This retention neither affects nor replaces any other retention
period required by other laws or rules of procedure. The court may require the production of original documents
for review by the court, a trustee, the U.S. Trustee, or any interested party.

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               c.      Attorney Diaz shall produce information in subsections (a) and (b)
                       in one manila folder per case, with the folder labeled with the
                       appropriate case number, and that production shall be delivered to
                       the Bankruptcy Clerk’s Office on or before May 3, 2019. Attorney
                       Diaz may proceed with a “rolling production” and produce
                       documents as she prepares them, but no document will be accepted
                       after May 3, 2019.


       To the Court’s shock and dismay, Attorney Diaz complied with none of the instructions

given to her in the Order. Not a single document was produced. No request for an extension of

time was made. Instead, Attorney Diaz through her counsel Ramon de la Cabada filed Attorney

Maite Diaz’s Response [ECF 57] to Court’s Order to Produce [ECF 51] on May 2, 2019. It

recites, in relevant parts, as follows [sic throughout]:

               Attorney Diaz analyzed her business practices in order to properly respond
       to the Court’s inquiry during the April 3, 2019 regarding her compliance with Local
       Rule 5005-4(C), and determine whether an admission would be possible in order to
       save the Court from performing a time consuming review of over 100 filings. ...
       [S]he acknowledges an error in her procedure because in many instances, the
       original signatures of the clients are on documents that are not the ones being
       filed and the schedules and statements in the filings have slight variations from
       those contained in the signed documents. [Emphasis added.]

                                                 ***

               While each file contains documents signed by the client, due to an error in
       office procedure, which will be explained, and ignorance to a requirement, the
       schedules and statements in the filings, in most instances, will not be exact with
       the documents signed by the client. [Emphasis added.]

               It is the customary practice of Attorney Diaz to meet with the client and
       have them sign forms containing the schedules and statements. If new information
       is found at that signing, it has been the practice of Attorney Diaz to not require the
       client to come back to the office to re-sign the filing unless there are significant
       changes to the information listed which would materially alter the filing.

              As a result of this motion and the inquiry of the Court, Attorney Diaz has
       implemented changes to office procedures in order to comply and allay any
       concerns.


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         Previous business practice - Step by step review of petition with client which most
         of the time occurred prior to pre-filing credit counseling. After review was
         completed, the client would sign that version of the petition, and would receive
         instructions as to any other documentation which would be needed and then await
         for them to take the required course. Once the case was filed, the client was asked
         to update any missing bank statements and pay stubs through the date of filing. If
         necessary, amendments were made so that figures would conform.

         New business practice - Clients are sent to the course information earlier so that
         they may take the course earlier in the process and in advance of our meeting. If
         the class has not yet been attended, the signing appointment is moved. If anything
         is missing at the signing appointment, the client is either requested to return with
         the information or a final draft o the petition is sent to the client so that the client
         may execute electronically prior to the filing and that is reviewed with the client
         over the telephone to ensure the numbers on the filing date are matching exactly
         with what is being filed. [Emphasis added.] 7

                                                         ***

                Now that Attorney Diaz is aware that even small changes to a petition could
         be material, she has made significant changes to her practice in order to avoid this
         problem in the future. If the numbers change, however slight, clients will execute
         and sign new documents in order to have an exact match between the signed
         document by the client and the filed petition.

                 If the Court deems necessary, Attorney Diaz would be willing to have
         clients return to her office to re-execute final copies of cases from the past so that
         they conform exactly to what was filed.


         In other words, in response to an order of court directing the production of certain materials,

Attorney Diaz herself indicated that there were many instances where the Court’s fears of unsworn

and unverified schedules, petitions, etc., being filed would be confirmed (but the errors were

“slight”) however she would not produce those documents as directed. The Court finds that this

refusal to produce documents as directed, shrouded under the purported auspices of saving the




7 The Court finds that for the purposes of this order, and considering the effect of this order, a discussion regarding
the suitability of the proposed “New Business Practice” is not necessary here, other than to note that this also likely
runs afoul of Local Rule 5005-4(C), which requires original signatures on retained documents.

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Court from the “time consuming review of over 100 filings,” was in fact a last-ditch effort to keep

the lid on Pandora’s Jar, a farcical attempt to avoid accountability, and is indicative of bad faith

on the part of Ms. Diaz. 8 Furthermore, as indicated throughout, the characterization of the

differences between Debtor signed documents and actually filed documents as being “slight” and

“not material” is alarmingly and categorically false.

        Upon consideration of Attorney Diaz’s failure to produce as directed, and her non-

compliant response in lieu of production [ECF 57], the Court entered another Order to Show Cause

[ECF 58], directing the following:

        1.       Attorney Diaz shall produce all of the documents required to be produced by this

                 Court’s Order [ECF 51], and to produce them in the manner directed by that Order.

                 All documents are to be produced on or before May 31, 2019.

        2.       Attorney Diaz shall show cause in writing, on or before May 31, 2019, why she

                 should not be held in contempt for failure to comply with the requirements to turn

                 over documents as set forth in the Order [ECF 51].

        3.       Attorney Diaz shall show cause in writing, on or before May 31, 2019, why her

                 proposed “New business practice” does not violate the terms of Local Rule 5005-

                 4(C).

        4.       Pursuant to the provisions of Federal Rule of Bankruptcy Procedure 9011(c)(1)(B),

                 Attorney Diaz shall show cause in writing, on or before May 31, 2019, why her

                 filing of the Debtor’s Schedules and Statement of Affairs [ECF 12], which had

                 never been seen by the Debtor and were not verified or affirmed by him, does not



8 The Court interprets a variety of actions taken by Attorney Diaz related to the production of documents to be
tantamount to bad faith, and believes that she attempted to “cover up” her misdeeds.

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                   constitute a representation to the Court which violates Bankruptcy Rule 9011(b)(3).

          5.       Pursuant to the provisions of Federal Rule of Bankruptcy Procedure 9011(c)(1)(B),

                   Attorney Diaz shall show cause in writing, on or before May 31, 2019, why her

                   filing in “over 100 filings” of schedules and statements of affairs which had never

                   been seen by the debtor and were not verified or affirmed by him or her, does not

                   constitute a representation to the Court which violates Bankruptcy Rule 9011(b)(3).

         6.       Attorney Diaz shall show cause in writing, on or before May 31, 2019, why she

                  should not be required (a) to file notice in each of “over 100 filings” that the

                  schedules and statements of affairs filed in those cases were neither seen not

                  executed by the debtors in those cases, and (b) to file schedules and statements of

                  affairs in each of those cases which have been executed by the debtors.

         7.       Pursuant to the provisions of Local Rule 2090-2(B)(1), Attorney Diaz shall show

                  cause in writing, on or before May 31, 2019, why she should not be suspended from

                  practice before the court, reprimanded or otherwise disciplined.

         8.       The Court will conduct an evidentiary hearing on this Show Cause Order on June

                  12, 2019 at 1:30 p.m. at the United States Bankruptcy Court, 299 East Broward

                  Blvd., Courtroom 301, Fort Lauderdale, FL 33301. Attorney Diaz is directed to

                  appear at that hearing.

                                         The Production of Documents

        On May 31, 2019, a banker’s box of documents was delivered to the Clerk’s office, and then

taken into chambers. 9 The Court thoroughly reviewed those documents, and what was revealed was



 9 In order to protect the integrity of any further investigations made by any investigative entity, this box shall
 remain in chambers indefinitely and may be made available for review. Should any investigative entity wish to

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absolutely appalling. As a preliminary matter, on April 10, 2019, Attorney Diaz was directed to

produce documents from “each of the cases in which Attorney Diaz filed the petition since January

1, 2017” in one manila folder per case. This directive encompasses 123 cases. However, only 121

manila folders were produced. Upon further examination, this was not the result of Attorney Diaz

accidentally failing to produce two files; rather, Attorney Diaz produced 15 cases that were filed after

the April 10, 2019, order. These cases were not requested by the Court, and the Court considers

their production to be irrelevant and burdensome to the review. This leaves the Court with a situation

where 17 cases requested were completely omitted from the document production.

                                            The Omitted Production

         Attorney Diaz failed to produce 17 cases. Of course, the Court cannot tell if the schedules

and other documents in the case have been sworn to and verified by the Debtor. The Court has

reason to believe that, consistent with standard procedure for Attorney Diaz, they were not. These

cases are as follows:

                  1.       17-13253-JKO In re Edilma C. Florez
                  2.       17-21294-RBR In re Althea McGibbon
                  3.       18-15971-JKO In re Marivi Jacinto
                  4.       18-23042-LMI In re Donna M. Henry
                  5.       19-11618-RBR In re Tulani Diaz
                  6.       17-20630-JKO In re Marie Pierre
                  7.       17-21291-JKO In re Romulo Tejero
                  8.       17-21678-AJC In re Carlos Hernandez and Lisa Hernandez
                  9.       17-22701-JKO In re Yoan Ramon Pupo
                  10.      18-10253-MAM In re Devon L. Foster
                  11.      18-12964-JKO In re Susan Deknegt
                  12.      18-13135-RBR In re Stella Rodriguez
                  13.      18-13689-EPK In re Margarita Portela Wiegandt
                  14.      18-20509-JKO In re Shineeja Thachanatt
                  15.      17-17619-JKO In re Kevin Douglas Ambush and Carolyn Yvonne Ambush
                  16.      17-10278-JKO In re Carmen Luna
                  17.      18-10654-JKO In re Julio Pineda


review these materials, they are invited to contact chambers and request time to review or make copies of the materials,
but these documents will not leave chambers, except upon further order of this Court.

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         With these cases, the original signed documents may exist, and the failure to produce them

may be intentional or inadvertent. 10 Or, on the other hand, the original signed documents may not

exist, which would either indicate a lack of adequate record keeping by Attorney Diaz or a deliberate

withholding or destruction of evidence. The Court does not know why Attorney Diaz failed to

produce these cases. The Court was deprived of performing any analysis for the purposes of this

Order regarding these cases by Attorney Diaz.                   Upon consideration, the Court supposes that

Attorney Diaz may have purposefully omitted these files because they reflect especially poorly upon

her, above and beyond the horrors produced in the banker’s box.

         One case, 17-10278-JKO In re Carmen Luna, stands out in particular to the Court, as it was

in connection with that case that Attorney Diaz was before this Court on a peculiar and memorable

Order to Show Cause. On May 10, 2017, the Court entered an Order to Show Cause as to why

Attorney Diaz should not be sanctioned, reprimanded, or otherwise disciplined because of an

expressed concern for her general method of practice, and specifically because she delayed several

weeks before uploading proposed orders to CM/ECF after motions were granted at a hearing. 11 The

Court noted at an initial hearing that it is “so frustrating when I have a lawyer who I think is competent

to do this work that does not demonstrate this on a regular basis.” This situation was preceded by

many instances of Attorney Diaz failing to upload an order within the required time following a

hearing at which her motion was granted.

         The Court entered an Order [ECF 31 in that case], which stated in pertinent part:

                Attorney Diaz is hereby DIRECTED to file a Comprehensive Status Report on or
         before May 3, 2017, which will include the following: a list of every open case and case
         closed within the last year in this District where Attorney Diaz is listed as the attorney of

10 It would appear unlikely that 17 case files out of 123 requested, or approximately 14% of the total required
production, could have been inadvertently excluded.
11 Local Rule 5005-1(G)(1)(c) requires proposed orders to be submitted within seven days after a hearing.

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        record. With each case, Attorney Diaz will provide the Court with her last action in the case,
        and whether or not a proposed order is pending from her office. If a proposed order is found
        to be pending, then Attorney Diaz is DIRECTED to immediately upload the proposed order
        via CM/ECF, indicate the date that the matter came on for hearing, and indicate the date that
        the proposed order was uploaded… If the Comprehensive Status Report provides information
        that suggests Attorney Diaz is unable to competently practice before this Court, then Attorney
        Diaz will be suspended for a period of time to be determine at the continued show cause
        hearing.

        The Court took that action in an effort to assist Attorney Diaz with getting her practice under

control, which was obviously and admittedly unwieldy for her at the time. Ms. Diaz’s response to

the Court’s order was reflective upon the fact that she is a sole practitioner with no assistance in her

office. Specifically, she expressed “I don’t like to make excuses for myself because my practice is

my own.” At the hearing following the submission of the Comprehensive Status Report, she

apologized and expressed gratitude to the Court, noting that it was a useful exercise and she would

make it a point to clean up her practice and “slow down.”

        In the end, and although the Comprehensive Status Report revealed 19 pending orders that

Attorney Diaz had failed to submit, the Court discharged the Order to Show Cause and did not

suspend Attorney Diaz. In retrospect, if the Court had suspended her at that point, perhaps she would

have taken an overall review of her practice after taking a short suspension, changed her ways of

practice, and the situation now before the Court could have been avoided.

                                         The Actual Production

        Attorney Diaz produced 121 manila folders, but only 106 were actually responsive to this

Court’s directive. Nevertheless, the court analyzed the 121 cases produced by Ms. Diaz after

determining what she had actually produced. The cases that were produced suffered from a wide

variety of deficiencies, as outlined below.          In many instances, complete schedules were not

produced. 12 Exemptions were not claimed. Dollar amounts were often listed as $0. Unsecured


12 Accordingly, the Court can make no comparison between what the debtor saw and signed with Attorney Diaz, and

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creditors were often non-existent. Secured claims were often not included. It appears as if, in some

instances, the debtor signed basically blank schedules but for a few entries.                 The spreadsheet below

examines whether or not the production of a certain file was complete or not, and the days between

the debtor’s original signature and the purported signature on the electronically filed documents on

CM/ECF.

                             Case                       Complete                       Days
                      18-22794-RAM                      No                             28
                      17-14768-JKO                      No                             26
                      17-20285-AJC                      Yes                            34
                      18-24211-RBR                      No                             25
                      17-12567-MAM                      No                             208
                      17-13272-LMI                      Yes                            26
                      18-21064-RBR                      No                             145
                      17-15184-RMR                      Yes                            12
                      19-14850-RBR                      No                             0
                      18-18307-JKO                      No                             33
                      19-10360-RBR                      No                             166
                      19-16268-JKO                      No                             0
                      19-16272-JKO                      No                             17
                      19-15917-RBR                      No                             16
                      19-15916-RBR                      Yes                            3
                      19-15915-RAM                      Yes                            12
                      19-15914-RAM                      No                             0
                      19-14953-RBR                      Yes                            1
                      18-11281-RBR                      No                             88
                      19-14951-RBR                      Yes                            8
                      19-14894-RBR                      Yes                            5
                      19-14893-RBR                      Yes                            4
                      19-14892-JKO                      No                             4
                      19-14888-JKO                      Yes                            4
                      19-14887-RBR                      Yes                            5
                      19-14659-JKO                      Yes                            0
                      19-14461-JKO                      Yes                            3
                      19-13635-AJC                      No                             103
                      19-12206-JKO                      No                             6

what was actually filed with the Court. This is a lack of production on the part of Attorney Diaz, and as discussed supra,
represents a significant problem. Attorney Diaz has deprived this Court of the ability to review the missing files, either
because she doesn’t have the records as required by Local Rule, or she has the records and failed to produce them as
required.


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   19-12159-JKO           Yes                      0
   19-11837-LMI           No                       0
   19-11602-RBR           No                       136
   19-11600-JKO           No                       0
   19-11555-JKO           No                       3
   19-11546-JKO           Yes                      5
   19-10927-RBR           No                       10
   19-10245-RBR           Yes                      5
   19-10359-JKO           No                       14
   18-24694-RBR           No                       12
   18-24087-RBR           No                       10
   18-24274-JKO           No                       15
   18-24705-RBR           Yes                      0
   18-23075-RBR           No                       182
   18-22849-AJC           No                       80
   18-22847-LMI           No                       141
   18-22846-LMI           No                       37
   18-22844-RBR           Yes                      0
   18-21066-JKO           No                       0
   18-21063-RBR           No                       154
   18-20508-JKO           No                       153
   18-20113-JKO           Yes                      34
   18-20112-RBR           No                       132
   18-19787-RBR      Not produced               Never filed
   18-18315-JKO           No                       90
   18-17017-JKO           No                       201
   19-12846-RBR           No                       18
   18-19677-JKO           No                       116
   18-19436-JKO           No                       122
   18-18313-JKO           Yes                      22
   18-18311-RBR           Yes                      304
   18-18049-AJC           Yes                      0
   18-17768-JKO           No                       2
   18-17019-JKO           No                       119
   18-16871-RBR           No                       225
   18-15928-JKO           No                       18
   18-14674-EPK           No                       227
   18-13848-RBR           No                       0
   18-13780-RBR           No                       27
   18-13266-JKO           Yes                      0
   18-12973-JKO           No                       113
   18-12966-RBR           No                       288
   18-12763-RBR           No                       0
   18-12139-JKO           Yes                      47


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   18-12971-RBR          No                       164
   18-11723-JKO          No                       82
   18-11681-LMI          No                       14
   18-11868-RBR          No                       164
   18-11822-RBR          No                       47
   18-10654-JKO          Yes                      44
   17-19317-RAM          No                       18
   18-10286-RBR          No                       59
   17-24840-JKO       Not produced             Never filed
   17-24585-RAM          No                       103
   17-24463-RBR          No                       21
   17-24095-RBR          No                       31
   17-22215-JKO          No                       43
   17-22003-RBR          No                       9
   17-21448-RBR          No                       85
   17-21447-JKO          Yes                      30
   19-10921-RBR          No                       27
   17-21420-RBR          No                       0
   17-21446-JKO          No                       516
   17-21445-JKO          No                       59
   17-21444-JKO          No                       51
   17-21394-RAM          No                       3
   17-20286-RAM          No                       22
   17-20284-LMI          No                       15
   17-19985-RBR          Yes                      42
   17-19885-JKO          Yes                      0
   17-19097-RBR          No                       0
   17-18633-JKO          Yes                      22
   17-18406-JKO          Yes                      0
   17-17816-RBR          No                       0
   17-17797-JKO          Yes                      24
   17-17796-RBR          No                       21
   17-17484-RBR          No                       107
   17-17106-RBR          Yes                      83
   17-16956-RBR          No                       32
   17-16874-RBR          No                       20
   17-16507-RBR          No                       97
   17-14558-JKO          No                       0
   17-12148-JKO          No                       69
   17-11923-AJC          No                       16
   17-11835-RBR          No                       14
   17-11353-RBR          No                       6
   17-10574-LMI          Yes                      8
   17-10515-JKO          Yes                      40


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                     17-10410-RBR                   No                           31
                     17-10203-RBR                   No                           20
                     17-10200-RBR                   No                           52
                     17-10204-JKO                   Yes                          0


       In 84 cases, or almost 70% of her produced files, Attorney Diaz failed to produce complete

records as directed by this Court. Attorney Diaz filed these cases an average of over 53 days after

the debtor signed the original documents in her office. In one case, the debtor signed the original

documents 516 days before the documents were actually filed on CM/ECF.

                                            Detailed Inspection

       The Court also randomly selected 10 cases for in depth analysis. The “Debtor Signed”

column represents documents produced to the Court by Attorney Diaz, and the CM/ECF column

represents what was actually filed on CM/ECF. If what was produced by Attorney Diaz matched

what was on CM/ECF, as it is required to do, the Court did not include it. If a schedule or document

was entirely missing, that document as filed on CM/ECF is produced as an exhibit to this order. The

differences between what the debtor actually signed and what was filed on CM/ECF in these cases is

shocking.

 Detailed Case Analysis 1: In re Rene Pazmino
 18-22794-RAM                                                  Date Petition Filed: 10/15/2018
  • Debtor-signed schedules omit over $1,000,000 in debt that appear on CM/ECF.
                                   Debtor Signed                               CM/ECF
 Schedule A/B:           What is the property: not listed Property   What is the property: single family home
 Part One Section 1.1    value: $290,385                             Property value: $365,000
 Part One Section 2      Total: $724,128                             Total: $798,743
 Part Two Section 3      Ford Pickup: $2,475                         Ford Pickup: $1,000
 Part Three Section 6    Household goods and furnishings: $0         Household goods and furnishings: $1,000
 Part Three Section 7    Household electronics: $0                   Household electronics: $100
 Part Three Section 15   Total: $50                                  Total: $1,150
 Part Four Section 16    Cash: $0                                    Cash: $20
 Part Four Section 36    Total: $0                                   Total: $20
 Part Eight Section 55   Total real estate: $724,128                 Total real estate: $798,743
 Part Eight Section 56   Total vehicles: $2,475                      Total vehicles: $1,000



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Part Eight Section 57      Total personal and household items: $50      Total personal and household items:
                                                                        $1,150
Part Eight Section 58      Total financial assets: $0                   Total financial assets: $20
Part Eight Section 62      Total personal property: $2,525              Total personal property: $2,170
Part Eight Section 63      Total of all property listed in Schedule     Total of all property listed in Schedule
                           A/B: $726,653                                A/B: $800,913
Schedule C:                NO EXEMPTIONS LISTED                         See Exhibit 1.1
Part One Section 2
Schedule D:                NOT PRODUCED                                 See Exhibit 1.2
Schedule E/F:              NOT PRODUCED                                 See Exhibit 1.3
Schedule I:                Net income from rental property and from     Net income from rental property and from
Part Two Section 8a        operating a business, profession, or farm:   operating a business, profession, or farm:
                           $6,570                                       $6,770
Part Two Sections 9, 10,   Total monthly income: $6,570                 Total monthly income: $6,770
& 12
Schedule J:                Monthly income: $6,570                       Monthly income: $6,770
Declaration:               Signed on October 29, 2018                   Signed on November 26, 2018
Statement of Financial     Paid another about seeking bankruptcy or     Paid another about seeking bankruptcy or
Affairs: Part Seven        preparing bankruptcy petition: $0 within     preparing bankruptcy petition: $2,190
Section 17                 year                                         within year
Part Twelve                Signed on October 29, 2018                   Signed on November 26, 2018



Detailed Case Analysis 2: In re Adriana Galvez
17-14768-JKO                                                    Date Petition Filed: 4/17/2017
 • Debtor-signed schedules omit approximately $160,000 of income from employment or
    operating a business within the previous two years which appears on CM/ECF.
                                Debtor Signed                                    CM/ECF
Schedule A/B:          NOT PRODUCED                                     See Exhibit 2.1
Schedule C:            NOT PRODUCED                                     See Exhibit 2.2
Schedule D:            Creditors with secured claims: four listed       Creditors with secured claims: one listed
                       Total: $501,547                                  Total: $501,547
Schedule I:            NOT PRODUCED                                     See Exhibit 2.3
Schedule J:            NOT PRODUCED                                     See Exhibit 2.4
Declaration:           Signed on April 20, 2017                         Signed on May 16, 2017
Statement of Financial Income from employment or from                   Income from employment or from
Affairs:    Part Two operating a business during this year or 2         operating a business during this year or 2
Section 4              previous years: No                               previous years: Yes
                                                                        This calendar year: $14,121.04
                                                                        Last calendar year: $65,438.46
                                                                        Two calendar years ago: $82,089
Part Seven Section 16      Paid another about seeking bankruptcy or Paid another about seeking bankruptcy or
                           preparing bankruptcy petition: $0 within preparing bankruptcy petition: $140 within
                           year                                     year
Part Twelve                Signed on April 20, 2017                 Signed on May 16, 2017




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Detailed Case Analysis 3: In re Raul Hernan Ochoa
17-20285-AJC                                                Date Petition Filed: 8/14/2017
 • Debtor-signed schedules shows a positive net monthly income of $1,756, CM/ECF shows a
    monthly net income of negative $325.
                                 Debtor Signed                                   CM/ECF
Schedule A/B:           Collectibles of value: “unknown”                Collectibles of value: $200
Part Three Section 8
Part Three Section 11   Clothes: “unknown”                              Clothes: $20
Part Three Section 14   Costume Jewelry: “unknown”                      Costume Jewelry: $20
Part Three Section 15   Total: $0                                       Total: $240
Part Eight Section 57   Total personal and household items: $0          Total personal and household items: $240
Part Eight Section 62   Total personal property: $3,422.95              Total personal property: $3,662.95
Part Eight Section 63   Total of all property listed in Schedule A/B:   Total of all property listed in Schedule A/B:
                        $114,422.95                                     $114,662.95
Schedule C:             MISSING EXEMPTIONS                              See Exhibit 3.1
Part One Section 2
Schedule I:             Other government assistance regularly           Other government assistance regularly
Part Two Section 8f     received: $842 and $300                         received: $0
Part Two Sections 9,    Total monthly income: $3,852                    Total monthly income: $1,246
10, & 12
Schedule J:             Dependent’s age: 15                             Dependent’s age: 12
Part One Section 2
Part Two Section 4c     Home maintenance, repair, and upkeep            Home maintenance, repair, and upkeep
                        expenses: $194                                  expenses: $0
Part Two Section 4d     Condominium/Homeowner’s Association             Condominium/Homeowner’s Association
                        dues: $0                                        dues: $149
Part Two Section 6a     Electricity, heat, natural gas: $300            Electricity, heat, natural gas: $100
Part Two Section 7      Food and housekeeping supplies: $600            Food and housekeeping supplies: $400
Part Two Section 12     Transportation: $160                            Transportation: $80
Part Two Section 22     Monthly expenses: $2,096                        Monthly expenses: $1,571
Part Two Section 23     Monthly net income: $1,756                      Monthly net income: $-325
Declaration:            Signed on July 11, 2017                         Signed on August 14, 2017
Statement of            Received income this year or two previous       Received income this year or two previous
Financial Affairs:      calendar years: No                              calendar years: Yes
Part Two Section 5                                                      Last calendar year: $7,017
                                                                        Two calendar years ago: $17,220
Part Twelve             Signed on July 11, 2017                         Signed on August 14, 2017


Detailed Case Analysis 4: In re Guillermo Valdes
18-24211-RBR                                                  Date Petition Filed: 11/15/2018
 • Did not produce Schedule D, which lists $95,000 of debt to secured creditor on CM/ECF.
                                 Debtor Signed                                   CM/ECF
Schedule A/B:           Deposits: Yes Wells Fargo: $0                   Deposits: Yes Wells Fargo: $20.70
Part Four Section 17
Part Four Section 36    Total: $20                                      Total: $40.70
Part Eight Section 62   Total personal property: $2,790                 Total personal property: $2,810.70
Part Eight Section 63   Total of all property listed in Schedule A/B:   Total of all property listed in Schedule A/B:
                        $164,838                                        $164,858.70



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Schedule C:              MISSING EXEMPTIONS                           See Exhibit 4.1
Part One Section 2
Schedule D:              NOT PRODUCED                                 See Exhibit 4.2
Schedule E/F:            NOT PRODUCED                                 See Exhibit 4.3
Declaration:             Signed on October 22, 2018                   Signed on November 15, 2018
Statement of Financial   Signed on October 22, 2018                   Signed on November 15, 2018
Affairs: Part Twelve



Detailed Case Analysis 5: In re Lillian Rosario Stewart
17-12567-MAM                                                 Date Petition Filed: 3/2/2017
 • Debtor-signed schedules omits homestead valued at $283,000.
                                  Debtor Signed                                 CM/ECF
Schedule A/B:            Own or have legal or equitable interest in   Own or have legal or equitable interest in
Part One Section 1       any residence, building, land, etc.: No      any residence, building, land, etc.: Yes
                                                                      Type of real estate: condominium
                                                                      Property value: $283,000
Part One Section 2       Total: NA                                    Total: $283,000
Part Three Section 6     Household goods and furnishings: No          Household goods and furnishings: $800
Part Three Section 11    Clothes: No                                  Clothes: $50
Part Three Section 12    Jewelry: No                                  Jewelry: $50
Part Three Section 15    Total: $0                                    Total: $900
Part Four Section 16     Cash: $0                                     Cash: $50
Part Four Section 17     Deposits: No                                 Deposits: Yes
                                                                      Checking account: $713.09
                                                                      Business bank account: $1,912.57
Part Four Section 36     Total: $0                                    Total: $2,675.66
Part Eight Section 55    Total real estate: $0                        Total real estate: $283,000
Part Eight Section 57    Total personal and household items: $0       Total personal and household items: $900
Part Eight Section 58    Total financial assets: $0                   Total financial assets: $2,675.66
Part Eight Section 62    Total personal property: $0                  Total personal property: $3,575.66
Part Eight Section 63    Total of all property listed in Schedule     Total of all property listed in Schedule
                         A/B: $0                                      A/B: $286,575.66
Schedule C:              NO EXEMPTIONS LISTED                         See Exhibit 5.1
Part One Section 2
Schedule D:              NOT PRODUCED                                 See Exhibit 5.2
Schedule E/F:            NOT PRODUCED                                 See Exhibit 5.3
Schedule I:              Employment status: employed                  Employment status: employed
Part One                 Employment information: missing              Employment information: listed
Part Two Section 8a      Net income from rental property and from     Net income from rental property and from
                         operating a business, profession, or farm:   operating a business, profession, or farm:
                         $0                                           $11,620.29
Part Two Section 9,      Total monthly income: $0                     Total monthly income: $11,620.29
10, 12
Schedule J:              Electricity, heat, natural gas: $0           Electricity, heat, natural gas: $200
Part Two Section 6       Water, sewer, garbage: $0                    Water, sewer, garbage: $50
                         Telephone, cellphone, internet, etc.: $0     Telephone, cellphone, internet, etc.: $50
Part Two Section 7       Food and housekeeping supplies: $0           Food and housekeeping supplies: $300
Part Two Section 9       Clothing, laundry, and dry cleaning: $0      Clothing, laundry, and dry cleaning: $50
Part Two Section 11      Medical and dental expenses: $0              Medical and dental expenses: $50
Part Two Section 13      Entertainment, clubs, recreation, etc.: $0   Entertainment, clubs, recreation, etc.: $200


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Part Two Section 21      Other: $0                                   Other: $120
Part Two Section 22      Monthly expenses: $0                        Monthly expenses: $1,020
Part Two Section 23      Monthly income: $0                          Monthly income: $10,600.29
Declaration:             Signed on August 10, 2016                   Signed on March 6, 2017
Statement of Financial   Income from employment or from              Income from employment or from operating
Affairs:   Part Two      operating a business during this year or    a business during this year or two previous
Section 4                two previous years: No                      years: Yes (but no $ amounts listed).
Part Seven Section 16    Paid another about seeking bankruptcy or    Paid another about seeking bankruptcy or
                         preparing bankruptcy petition: $0           preparing bankruptcy petition: $690
Part Twelve              Signed on August 10, 2016                   Signed on March 6, 2017



Detailed Case Analysis 6: In re Donna Henry
17-13272-LMI                                                 Date Petition Filed 3/18/2017
 • Debtor-signed schedules omits value of homestead ($198,000), value of vehicles ($11,550),
    and omits over $100,000 of income from employment or operating a business within the last
    two years.
                                  Debtor Signed                               CM/ECF
Schedule A/B:            Property value: $0                          Property value: $198,000
Part One Section 1.1
Part One Section 2       Total: $0                                   Total: $198,000
Part Two Section 3       2006 Volvo: $0                              2006 Volvo: $2,750
                         2012 Mazda: $0                              2012 Mazda: $8,800
Part Two Section 5       Total: $0                                   Total: $11,550
Part Three Section 6     Household goods and furnishings: $0         Household goods and furnishings: $1,000
Part Three Section 11    Clothes: $0                                 Clothes: $50
Part Three Section 15    Total: $0                                   Total: $1,050
Part Four Section 16     Cash: No                                    Cash: $50
Part Four Section 17     Deposits: Yes                               Deposits: Yes
                         Savings account: $5 Checking account:       Savings account: $5 Checking account:
                         $10,000                                     $5,866.27
Part Four Section 21     Retirement or pension accounts: 401k        Retirement or pension accounts: 401k
                         through employer Milliman $130,000          through employer Milliman $145,852.86
Part Four Section 36     Total: $140,005                             Total: $151,774.13
Part Eight Section 55    Total real estate: $0                       Total real estate: $198,000
Part Eight Section 56    Total vehicles: $0                          Total vehicles: $11,550
Part Eight Section 57    Total personal and household items: $0      Total personal and household items:
                                                                     $1,050
Part Eight Section 58    Total financial assets: $140,005            Total financial assets: $151,774.13
Part Eight Section 62    Total personal property: $140,005           Total personal property: $164,374.13
Part Eight Section 63    Total of all property listed in Schedule    Total of all property listed in Schedule
                         A/B: $140,005                               A/B: $362,374.13
Schedule C:              MISSING EXEMPTIONS                          See Exhibit 6.1
Part One Section 2
Schedule D:              Secured claims: Long Beach Acceptance,      Secured claims: Seterus Inc
Part One Section 2       Ocwen Loan, and Seterus Inc Total:          Total: $277,162
                         $277,161
Schedule E/F:            Internal Revenue Service: total claim is $0 Internal Revenue Service: total claim is
Part One Section 2.1     and priority claim is $0                    $6,000 and priority claim is $6,000



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Part Four Section 6b/e Taxes and certain other debts owed to the       Taxes and certain other debts owed to the
                       government: $0                                  government: $6,000
Declaration:           Signed on March 8, 2017                         Signed on April 3, 2017
Statement of Financial Income from employment or from                  Income from employment or from operating
Affairs:   Part Two operating a business during this year or           a business during this year or two previous
Section 4              two previous years: No                          years: Yes
                                                                       This calendar year: $20,525.29
                                                                       Last calendar year: $87,191.30
Part Twelve              Signed on March 8, 2017                       Signed on April 3, 2017



Detailed Case Analysis 7: In re Alexandra Ocampo
18-21064-RBR                                            Date Petition Filed: 9/10/2018
 • Debtor-signed schedules list zeros for all income and expenses.
                                      Debtor Signed                                 CM/ECF
 Schedule A/B:              2011 Nissan: $7,000                           2011 Nissan: $4,000
 Part Two Section 3         2008 Nissan: $4,500                           2008 Nissan: $2,500
                            Total: $11,500                                Total: $6,500
 Part Four Section 17       Deposits: yes                                 Deposits: yes
                            Other financial account: $0                   Other financial account: $13.63
 Part Four Section 36       Total: $50                                    Total: $63.63
 Part Eight Section 56      Total vehicles: $11,500                       Total vehicles: $6,500
 Part Eight Section 58      Total financial assets: $50                   Total financial assets: $63.63
 Part Eight Section 62      Total personal property: $12,100              Total personal property: $7,113.63
 Part Eight Section 63      Total of all property listed in Schedule      Total of all property listed in Schedule
                             A/B: $12,100                                  A/B: $7,113.63
 Schedule C:                2011 Nissan: $7,000 current value,            2011 Nissan: $4,000 current value,
 Part One Section 2         $1,000 amount of the exemption claimed        $0 amount of the exemption claimed
                            2011 Nissan: $7,000 current value,            2011 Nissan: $4,000 current value,
                            $4,000 amount of the exemption claimed        $4,000 amount of the exemption claimed
                             2011 Nissan: $7,000 current value,           2011Nissan: $4,000 current value, $0 amount
                            $1,000 amount of the exemption claimed         of the exemption claimed
                                                                          “118417”: $2,500 current value,
                                                                          $1,000 amount of the exemption claimed
                                                                          “118417”: $2,500 current value, $1,000
                                                                          amount of the exemption claimed
 Schedule D:                NOT PRODUCED                                  See Exhibit 7.1
 Schedule E/F:              NOT PRODUCED                                  See Exhibit 7.2
 Schedule I:                Gross income: $0                              Gross income: $3,092.72
 Part Two Section 4
 Part Two Section 5         Tax, Medicare, and social security            Tax, Medicare, and social security
                            deductions: $0                                deductions: $555.90
                            Insurance deductions: $0 Other deductions:    Insurance deductions: $128.92
                             $0                                           Other deductions: $1.80
 Part Two Section 6         Total payroll deductions: $0                  Total payroll deductions: $686.62
 Part Two Section 7         Total monthly take-home pay: $0               Total monthly take-home pay: $2,406.10
 Part Two Sections 10&12    Total monthly income: $0                      Total monthly income: $2,406.10
 Schedule J:                Rental or home ownership expenses for         Rental or home ownership expenses for
 Part Two Section 4         residence: $0                                 residence: $1,080
 Part Two Section 6         Telephone, cell phone, internet, etc.: $0     Telephone, cell phone, internet, etc.: $150
 Part Two Section 7         Food and housekeeping supplies: $0            Food and housekeeping supplies: $500


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Part Two Section 9     Clothing, laundry, dry cleaning: $0            Clothing, laundry, dry cleaning: $50
Part Two Section 10    Personal care products and services: $0        Personal care products and services: $50
Part Two Section 11    Medical and dental expenses: $0                Medical and dental expenses: $50
Part Two Section 12    Transportation: $0                             Transportation: $150
Part Two Section 13    Entertainment, clubs, recreation, etc.:$0      Entertainment, clubs, recreation, etc.: $50
Part Two Section 15    Vehicle insurance: $0                          Vehicle insurance: $100
Part Two Section 21    Other: $0                                      Other: bank fees $100
Part Two Section 22    Monthly expenses: $0                           Monthly expenses: $2,280
Part Two Section 23    Monthly income: $0                             Monthly income: $126.10
Declaration:           Signed on April 28, 2018                       Signed on September 20, 2018
Statement of Financial Signed on April 28, 2018                       Signed on September 20, 2018
Affairs:
Part Twelve



Detailed Case Analysis 8: In re Marivi Jacinto
17-15184-RBR                                     Date Petition Filed: 4/26/2017
 • Debtor-signed schedules omits $124,377 of income from employment or operating a
    business within the last two years.
                                 Debtor Signed                               CM/ECF
Schedule A/B:           Deposits: yes                               Deposits: yes
Part Four Section 17    Savings account: $5 Checking account:       Savings account: $55.03 Checking account:
                        $136.81 Chase account: $1,202.80            $1,815.32 Chase account: unknown Chase
                                                                    account: $1,202.80

Part Four Section 36    Total: $18,825.07                           Total: $22,070.09
Part Eight Section 58   Total financial assets: $18,825.07          Total financial assets: $22,070.09
Part Eight Section 62   Total personal property: $33,645.07         Total personal property: $36,890.09
Part Eight Section 63   Total of all property listed in Schedule    Total of all property listed in Schedule
                        A/B: $425,645.07                            A/B: $428,890.09
Schedule I:             Debtor 2 or non-filing spouse: Employed     Debtor 2 or non-filing spouse: Employed
Part One                at Monitor Tech for 7 years                 at H&M Builders for 1 month
Part Two Section 2/4    Monthly gross wages, salary, and            Monthly gross wages, salary, and
                        commissions for Debtor 1: $6,586.22         commissions for Debtor 1: $5,064.15
                        Monthly gross wages, salary, and            Monthly gross wages, salary, and
                        commissions for Debtor 2 or non-filing      commissions for Debtor 2 or non-filing
                        spouse: $2,741.79                           spouse: $2,693.28
Part Two Section 5a     Tax, Medicare, and Social Security          Tax, Medicare, and Social Security
                        deductions: Debtor 1 $1,768.94 and Debtor   deductions: Debtor 1 $864.62 and Debtor
                        2/non-filing spouse $315.56                 2/non-filing spouse $293.03
Part Two Section 5b     Mandatory contributions for retirement      Mandatory contributions for retirement
                        plans: Debtor 1 $0                          plans: Debtor 1 $253.21
Part Two Section 5e     Insurance: Debtor 1 $0                      Insurance: Debtor 1 $516.83
Part Two Section 5h     Other deductions: “cafe” with different     Other deductions: “disab” with different
                        descriptions and numbers                    descriptions and numbers
Part Two Section 6      Total payroll deductions: Debtor 1          Total payroll deductions: Debtor 1
                        $1,873.92 and Debtor 2/non-filing spouse    $1,927.35 and Debtor 2/non-filing spouse
                        $1,102.11                                   $1,023.42



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  Part Two Section 7     Total monthly take-home pay: Debtor 1          Total monthly take-home pay: Debtor 1
                         $4,712.30 and Debtor 2/non-filing spouse       $3,136.80 and Debtor 2/non-filing spouse
                         $1,639.68                                      $1,669.86
  Part Two Section 10    Monthly income: $7,241.56                      Monthly income: $5,696.24
  Schedule J:            Electricity, heat, natural gas: $250           Electricity, heat, natural gas: $302
  Part Two Section 6     Water, sewer, garbage: $90                     Water, sewer, garbage: $100
                         Telephone, cell phone, internet, etc.: $120    Telephone, cell phone, internet, etc.: $250
                         Other: $120                                    Other: $0
  Part Two Section 7     Food and housekeeping supplies: $800           Food and housekeeping supplies: $1,000
  Part Two Section 11    Medical and dental expenses: $50               Medical and dental expenses: $100
  Part Two Section 13    Entertainment, clubs, recreation, etc.:        Entertainment, clubs, recreation, etc.: $250
                         $200
  Part Two Section 15c   Car insurance: $0                              Car insurance: $200
  Part Two Section 17a   Car payments for vehicle 1: $400               Car payments for vehicle 1: $0
  Part Two Section 19    Other payments: $0                             Other payments: Pet food $40
  Part Two Section 21    Other property expenses: $0                    Other property expenses: $30
  Part Two Section 22    Monthly expenses: $2,780                       Monthly expenses: $3,022
  Part Two Section 23    Combined monthly income: $7,241.56             Combined monthly income: $5,696.24
                         Monthly expenses: $2,780 Monthly net           Monthly expenses: $3,022 Monthly net
                         income: $4,461.56                              income: $2,674.24
  Declaration:           Signed on May 4, 2017                          Signed on May 16, 2017
  Statement of Financial Income from employment or from                 Income from employment or from operating
  Affairs:    Part Two operating a business during this year or         a business during this year or two previous
  Section 4              two previous years: Yes                        years: Yes
                         Last calendar year: $101, 968                  This calendar year: $15,192.46
                         This calendar year: $0                         Last calendar year: $101,968
                                                                        Two calendar years ago: $109,185
  Part Seven Section 16    Paid another about seeking bankruptcy or     Paid another about seeking bankruptcy or
                           preparing bankruptcy petition: $0            preparing bankruptcy petition: $525
  Part Twelve              Signed on May 4, 2017                        Signed on May 16, 2017


 Detailed Case Analysis 9: In re Richard Carmenaty

 19-14850-RBR                                            Date Petition Filed: 4/15/2019
  • Failed to fully produce Schedule E/F, which lists $129,269 in unsecured claims on CM/ECF.
                                 Debtor Signed                                  CM/ECF
  Schedule E/F:            NOT FULLY PRODUCED                           See Exhibit 9.1

Detailed Case Analysis 10: In re Jason A Hammond

18-18307-JKO                                           Date Petition Filed 7/10/2018
  • A near-complete failure to produce. Irrelevant and illegible documents produced.

                                Debtor Signed                                  CM/ECF
Schedule C:               NO EXEMPTIONS LISTED                         See Exhibit 10.1
Part One Section 2
Schedule D:               NOT PRODUCED                                 See Exhibit 10.2
Schedule E/F:             NOT PRODUCED                                 See Exhibit 10.3
Schedule G:               NOT PRODUCED                                 See Exhibit 10.4


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 Schedule H:             NOT PRODUCED                               See Exhibit 10.5
 Schedule I:             NOT PRODUCED                               See Exhibit 10.6
 Schedule J:             NOT PRODUCED                               See Exhibit 10.7
 Declaration:            Signed on June 21, 2018                    Signed on July 24, 2018
 Statement          of   Income from employment or from             Income from employment or from
 Financial Affairs:      operating a business during this year or   operating a business during this year or
 Part Two Section 4      two previous years: No                     two previous years: Yes
                                                                    Last calendar year: $168,888
 Part Twelve             Signed on June 21, 2018                    Signed on July 24, 2018



                                 The Standard Operating Procedure

       Attorney Diaz’s standard procedures were made painfully clear by the in-court testimony

of Attorney Diaz, the in-court representations of her counsel, the filings in this case, and a review

of the produced materials:

       1.       Attorney Diaz has a meeting with a client in which she prepares rudimentary draft

schedules.

       2.       The Debtor signs those draft schedules under penalty of perjury.

       3.       At some later date, Attorney Diaz makes wholesale changes to the draft schedules

and other documents.

       4.       At some later date, often months after the draft schedules were created, Attorney

Diaz files the petition on behalf of the Debtor via CM/ECF, representing to the Court that the

Debtor has seen, sworn to the accuracy of, and verified those documents.

       5.       At some later date, often months after the draft schedules were created, Attorney

Diaz later files the initial schedules on behalf of the Debtor via CM/ECF, representing to the

Court that the Debtor has seen, sworn to the accuracy of, and verified those documents.

       6.       The Debtors, in fact, have never seen, sworn to, or verified the accuracy of the

documents that Attorney Diaz files on their behalf via CM/ECF.




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                               Declaration under Penalty of Perjury

        The voluntary petition in every case states in pertinent part, as form language:

               I have examined this petition, and I declare under penalty of perjury that the
        information provided is true and correct.

               I understand that making a false statement, concealing property, or obtaining money
        or property by fraud in connection with a bankruptcy case can result in fines up to
        $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and
        3571.

        It is now clear that, on one hand, the Debtor has applied an actual, original signature to a

document under penalty of perjury, presumably in the presence of Attorney Diaz. Many parts of

that document are blank. On the other hand, the court docket reflects schedules that are vastly

different from the ones the debtor actually signed, and yet purport to be “sworn” to under penalty

of perjury using a “/s/” electronic signature applied by Attorney Diaz on behalf of the debtor.

                                    The CM/ECF Filing System

        This situation would never have been possible had the Court not adopted electronic filing

of documents through the CM/ECF system.

        Prior practice required the filing of original documents manually signed and verified by the

debtor. In this district, local practice required that an original and six copies of all original filings

be supplied, and this judge well recalls his years in law practice delivering hand trucks filled with

boxes of documents to the Clerk’s office. The logistical problems for law firms producing all that

paper were enormous. Once deposited with the Clerk, her staff was required to sort, index, and

store the resulting files. Many clerical employees were required to perform these tasks, and

thousands of square feet of office space were required to store the files.

        This district came late to CM/ECF, timing its implementation to coincide with the effective

date of the Bankruptcy Abuse Prevention and Consumer Protection Act in October 2005.

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         The benefits were obvious. Most importantly, CM/ECF fulfilled the Bankruptcy Code’s

requirement in 11 U.S.C. § 107 that “a paper filed in a case under this title and the dockets of a

bankruptcy court are public records and open to examination by an entity at reasonable times

without charge.” With CM/ECF, court records can now be freely reviewed in the Clerk’s office,

and, through PACER, online from anywhere in the world through the payment of a modest fee.

Previously, files could be reviewed only from the Clerk’s physical records – and if the file was

checked out to a judge’s chambers, it was simply unavailable to review. Copies could be obtained

from the Clerk only by filling out a copy request form and paying a (much larger) copy charge.

This judge recalls a sign in a clerk’s office in another district stating that “Photocopying is not a

priority.” And just as pleadings were unavailable for easy review, so too were proofs of claim –

a real burden in cases with thousands of claims.

         Clerk’s office staff engaged in filing, indexing, storing, retrieving, and copying documents

became redundant when CM/ECF became effective. Personnel cost reductions have saved the

country millions of dollars, and productivity has been significantly enhanced. The space needed

to store files, both on site in clerk’s offices and in permanent storage off site, likewise became

unnecessary. This Court has given back thousands of square feet of redundant office space and

substantially reduced the rent paid to the General Services Administration, the U.S. Courts’

landlord. Moreover, the environmental hazard caused by the storage of millions of tons of paper

has been overcome. Paper stored for long periods, especially in humid climate, allows for the

growth of mold and mildew and for its accumulation in the surrounding office and courtroom

space.    Toxic mold is the result, an effect sometimes referred to as “Southern Courthouse

Disease.” This accumulation of dangerous mold led the United States Courts to abandon such

buildings as the 1933 David W. Dyer Federal Building and United States Courthouse in Miami,

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now leased by GSA to Miami Dade College under a 115-year, one-dollar-a-year lease, and the

1905 United States Courthouse Building and Downtown Postal Station, sold to the City of Tampa

for $1.00. Both buildings are architecturally magnificent, and both were the subject of litigation

brought by judicial officers or their descendants alleging dangerous and unsafe working conditions

cause by toxic mold, and, in one case, the death of a judge.

       All of these problems were cured by the adoption of CM/ECF.

       But the utility of CM/ECF is dependent upon the integrity of the lawyers who file papers

using the system. The Court and all parties in interest who now review documents online operate

on the necessary assumption that a paper signed electronically by a debtor using “/s/” was, in fact,

signed under penalty of perjury by the debtor. In other words, we CM/ECF users trust that

electronically signed documents were actually signed by the debtor on the date indicated. Ronald

Reagan famously used the phrase “trust, but verify” in connection with the signing of the

Intermediate-Range Nuclear Forces Treaty with Mikhail Gorbachev in 1987. The origin of the

phrase is a Russian proverb, “doveryai, no proveryai” (“trust, but verify”).

       The case of Debtor Aldo Pina demonstrates the painful failure of trusting without verifying.

Once Mr. Pina made the representations that he had neither seen nor signed his schedules filed by

Ms. Diaz, this Court felt obliged to verify. And like the oncologist conducting exploratory

surgery who finds metastatic cancer, this Court has “peeked and shrieked.”

       It is noteworthy that both Chapter 7 Trustee Les Osborne and counsel for the United States

Trustee Steven Schneiderman stated at the June 12th hearing that they had never had any prior

problems with Attorney Diaz. That is because neither of them had ever looked. The Court

means no criticism of Mr. Osborne or Mr. Schneiderman; the fact of the matter is that nobody

ever looks. The Court is unaware of any request or order ever entered in the Southern District of

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Florida requiring “the production of original documents for review by the court, a trustee, the U.S.

Trustee, or any interested party” under Local Rule 5005-4(C).

       But now that the Court has looked, it cannot look away.

                                            Bad Faith

       Based upon the production of documents to the Court, and a comparison of these

documents to those filed by Attorney Diaz on CM/ECF, the Court finds that the manner and

method of production manifests a bad faith attempt to avoid detection of Attorney Diaz’s

shockingly inadequate and possibly criminal standard operating procedure:

             • Attorney Diaz initially refused to produce as directed. When she finally did -

             • Seventeen cases were not produced.

             • Many cases are missing several schedules entirely.

             • Approximately 20 case files included documents that were not required to be

     produced and/or multiple copies of the same document, in what appears to be an attempt to

     “stuff” the file in an effort to make that file appear like others. The Court finds the insertion

     of unrequired and irrelevant documents (and sometimes multiple copies of the same

     document) an effort to make each manila folder appear from the outside to contain the same

     quantity of paper, which may have satisfied an extremely cursory review.

             • In approximately 10 cases, illegible copies were produced making review and

     comparison to actual filed schedules on CM/ECF impossible.

             • Scattered and disorganized filings in which the documents were produced

     haphazardly with pages out of order. Tellingly, these types of sloppy files often revealed

     the greatest differences between the debtor signed documents and the CM/ECF filed

     documents, whereas files with stapled and organized documents often were “complete”

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      productions (even though there were still a multitude of discrepancies).

              • Files were included where the case number on the manila folder did not match the

      actual case included in the manila folder, complicating review unnecessarily.

                                             Applicable Law

        Federal Rule of Bankruptcy Procedure 1008 requires that all schedules and statements must

be verified or contain an unsworn declaration under penalty of perjury pursuant to 28 U.S.C. §

1746.    Alternatively, such documents may be verified by oath or affirmation pursuant to

Bankruptcy Rule 9012.

        What we have here is a consistent pattern of practice by Attorney Diaz under which

unsworn and unverified schedules and statements have been filed by her in “over 100 filings”

since the beginning of 2017. The Court has no reason to believe that this practice began only in

January of 2017, or that is not present in all of the cases that Attorney Diaz has ever filed since she

filed her first case in this district on August 25, 2008. 13

        Bankruptcy Rule 5005 provides that “[a] court may, by local rule, permit or require

documents to be filed, signed, or verified by electronic means. ... A document filed by electronic

means in compliance with a local rule constitutes a written paper for the purpose of applying these

rules, the Federal Rules of Civil Procedure made applicable by these rules, and § 107 of the Code.”

Section 107 provides that “a paper filed in a case under this title and the dockets of a bankruptcy

court are public records and open to examination by an entity at reasonable times without charge.”

Our Court has provided for such local rule in Local Rule 5005-4. Local Rule 5005-4(D) provides

in relevant part that “[d]ocuments required to be verified or contain an unsworn declaration that




13 See In re Rene Bacallao, 08-22043-RAM.

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are filed electronically shall be treated, for all purposes (both civil and criminal, including penalties

for perjury), the same as though signed or subscribed.”

         The Schedules and Statement of Financial Affairs filed by Attorney Diaz in this case, and

in “over 100” other cases, and very likely many more, are both unsworn and unverified. When

asked by the Trustee if he had signed his Schedules, the Debtor Aldo Pina answered honestly that

he had not, and that he had never before seen the documents Attorney Diaz filed at ECF 12.

Parties in a bankruptcy case, starting with a trustee but including all parties in interest and the

Court, rely on schedules and statements. They are the starting point for the evaluation of a

debtor’s assets and liabilities, and the starting point for the evaluation of a debtor’s honesty. If a

set of schedules and statements contain falsehoods, they are the starting point for the denial of a

debtor’s discharge under 11 U.S.C. § 727 or the assertion that the debtor has perjured him- or

herself. But without that starting point, the bankruptcy process lacks fundamental integrity. And

in the opinion of this Court, the evidence produced in this situation has revealed this it is more

likely than not that each and every case that Attorney Diaz has filed similarly lacks fundamental

integrity, and the debtors, creditors, judges and other actors in those cases and beyond have a right

to know that all of her cases are tainted. 14

         Attorney Diaz’s Response suggests that her failure to comply with the requirement set forth

clearly in Rule 1008 that “[a]ll petitions, lists, schedules, statements and amendments thereto shall

be verified or contain an unsworn declaration as provided in 28 U.S.C. § 1746” is the result of “an

error in office procedure” [ECF 57, page 3 of 5] and “of not knowing the proper procedure.” [ECF

57, page 5 of 5].




14 This Court will be directing the Clerk to file a notice in each case that Attorney Diaz has ever filed. See Exh. 11.

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       This is mind boggling.

       Each electronic filing by Attorney Diaz of documents which she represented were verified

but were not constitutes a separate violation of Bankruptcy Rule 9011(b): by presenting to the

court (whether by signing, filing, submitting, or later advocating) a petition, pleading, written

motion, or other paper, an attorney or unrepresented party is certifying that to the best of the

person’s knowledge, information, and belief, formed after an inquiry reasonable under the

circumstances –

       1)      It is not being presented for any improper purpose, such as to harass or to cause

unnecessary delay or needless increase in the cost of litigation;

       2)      The claims, defenses, and other legal contentions therein are warranted by existing

law or by a nonfrivolous argument for the extension, modification, or reversal of existing law or

the establishment of new law;

       3)      The allegations and other factual contentions have evidentiary support, or, if

specifically so identified, are likely to have evidentiary support after a reasonable opportunity for

further investigation or discovery; and

       4)      The denials of factual contentions are warranted on the evidence, or, if specifically

so identified, are reasonably based on lack of information and belief.

       By passing off schedules and statements as having been verified or executed under penalty

of perjury, when they have actually not been, Attorney Diaz has made false representations to the

Court within the meaning of Bankruptcy Rule 9011(b).        In fact, the Court’s most recent order to

show cause directed Attorney Diaz to do the following:

       1.      Attorney Diaz shall produce all of the documents required to be produced by this

Court’s Order [ECF 51], and to produce them in the manner directed by that Order.                All

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documents are to be produced on or before May 31, 2019.

               a.     Attorney Diaz failed to produce as required, as discussed above.

       2.      Attorney Diaz shall show cause in writing, on or before May 31, 2019, why she

should not be held in contempt for failure to comply with the requirements to turn over documents

as set forth in the Order [ECF 51].

               a.     Attorney Diaz failed to do so.

       3.      Attorney Diaz shall show cause in writing, on or before May 31, 2019, why her

proposed “New business practice” does not violate the terms of Local Rule 5005-4(C).

               a.     Attorney Diaz failed to do so.

       4.      Pursuant to the provisions of Federal Rule of Bankruptcy Procedure 9011(c)(1)(B),

Attorney Diaz shall show cause in writing, on or before May 31, 2019, why her filing of the

Debtor’s Schedules and Statement of Affairs [ECF 12], which had never been seen by the Debtor

and were not verified or affirmed by him, does not constitute a representation to the Court which

violates Bankruptcy Rule 9011(b)(3).

               a.     Attorney Diaz failed to do so.

       5.      Pursuant to the provisions of Federal Rule of Bankruptcy Procedure 9011(c)(1)(B),

Attorney Diaz shall show cause in writing, on or before May 31, 2019, why her filing in “over 100

filings” of schedules and statements of affairs which had never been seen by the debtor and were

not verified or affirmed by him or her, does not constitute a representation to the Court which

violates Bankruptcy Rule 9011(b)(3).

               a.     Attorney Diaz failed to do so.

       6.      Attorney Diaz shall show cause in writing, on or before May 31, 2019, why she

should not be required (a) to file notice in each of “over 100 filings” that the schedules and

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statements of affairs filed in those cases were neither seen not executed by the debtors in those

cases, and (b) to file schedules and statements of affairs in each of those cases which have been

executed by the debtors.

               a.     Attorney Diaz failed to do so.

       7.      Pursuant to the provisions of Local Rule 2090-2(B)(1), Attorney Diaz shall show

cause in writing, on or before May 31, 2019, why she should not be suspended from practice

before the court, reprimanded or otherwise disciplined.

               a.     Attorney Diaz failed to do so.

       8.      The Court will conduct an evidentiary hearing on this Show Cause Order on June

12, 2019 at 1:30 p.m. at the United States Bankruptcy Court, 299 East Broward Blvd., Courtroom

301, Fort Lauderdale, FL 33301. Attorney Diaz is directed to appear at that hearing.

               a.     Attorney Diaz complied with this directive by showing up.

       The Response [ECF 66] filed by Mr. de la Cabada on behalf of Attorney Diaz objectively

fails to respond to this Court’s demands, and it makes material misstatements about the reality of

the current situation. For example, paragraph 4 of the Response states “[t]he filing of Debtor’s

Schedules and Statements of Affairs filed to not constituted a of Rule 90119(b)(3) [sic] because

the information provided did have evidentiary support in that it was reviewed by each debtor and

any differences with the pleadings were slight and not material and based on communication with

Debtor and his/her required documentation.” This statement, upon review of the documents, is

false, and necessarily leads this Court to believe that Ramon de la Cabada, an attorney with

admittedly no experience before the bankruptcy court, honestly had no idea what he was talking

about. To consider otherwise would open a whole separate Pandora’s Jar, considering how false

and misleading the Response is in light of the actual production. It would appear that Mr. de la

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Cabada’s representations in the Response may themselves constitute violations of Rule 9011(b)(3),

but the Court declines to consider that question further.

        The Response [ECF 66] attempts to compare this situation to a case in Georgia, In re

Harmon, 435 B.R. 758 (Bankr. N.D. Ga. 2010) where the court sanctioned several attorneys in a

law firm, and the law firm itself, for similar misdeeds. 15 In that case, the court became aware of

two situations in which something vaguely similar to this debacle happened at a law firm. By

contrast, Attorney Diaz is a solo practitioner, and she is solely responsible for what happens at her

firm. And as discussed, the Court has discovered a standard operating procedure apparently

present in each and every case that Attorney Diaz has ever filed that is materially illegal.

                                             “This Is The End”16

        “While Attorney Diaz understands the court’s concern, it would be submitted that these

errors delineated do not rise to the level of such a high punitive measure of suspension of a solo

practitioner when other steps can be taken to allay concerns without potentially creating a legal

practice wrecking scenario.” [ECF 66, ¶ 7]. The Court disagrees. Based on the production, and

the totality of the circumstances from the beginning of this saga, Attorney Diaz does not

understand the Court’s concern, the errors delineated do rise to the level of such a high punitive

measure of suspension, and no other steps can be taken to allay the Court’s concerns.

Accordingly, and extremely regrettably, the Court has no other choice but to suspend Attorney

Diaz for a considerable period of time and to recommend that other entities act to disbar Attorney

Diaz from the practice of law entirely.



15 “Given the importance of the Court’s ability to rely on attorneys’ representations, deterrence and punishment are
both appropriate purposes for sanctions here. … As this Court relies heavily on electronic filings, the adherence of
attorneys to the local rules regarding electronic signatures is imperative.” 435 B.R. at 767.
16 The opening sequence of the 1979 American epic war film Apocalypse Now comes to mind.

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       Federal courts, including bankruptcy courts, possess inherent authority to impose sanctions

against attorneys and their clients. Chambers v. NASCO, Inc. 501 U.S. 32 (1991); Glatter v. Mroz

(In re Mroz), 65 F.3d 1567, 1574 (11th Cir. 1995); Ginsberg, et al. v. Evergreen Security, Ltd. et

al. (In re Evergreen Security), 570 F.3d 1257, 1263 (11th Cir. 2009) (citing In re Walker, 532 F.3d

1304, 1309 (11th Cir. 2008)). “This power is derived from the court’s need to manage [its] own

affairs so as to achieve the orderly and expeditious disposition of cases.” Sunshine Jr. Stores, Inc.,

456 F.3d 1291, 1304 (11th Cir. 2006)(internal citations omitted). Evergreen Security at 1263. A

bankruptcy court “may impose sanctions if a party violates a court order or rule.” Id. at 1273.

       The Eleventh Circuit has held that bankruptcy courts possess inherent authority to impose

sanctions and statutory authority to sua sponte “take any action or make any determination

necessary or appropriate to enforce or implement court orders or rules, or to prevent an abuse of

process.” 11 U.S.C. § 105(a) (2005). Id. at 1263.

       Local Rule 2090-2(B)(1) provides:

              Upon order to show cause entered by at least one judge, any attorney appearing
       before the court may, after 30 days’ notice and hearing and for good cause shown, be
       suspended from practice before the court, reprimanded or otherwise disciplined, by a judge
       whose order to show cause initiated the disciplinary proceedings.


       The Order to Show Cause [ECF 32] initiating these disciplinary proceedings against

Attorney Diaz was entered on February 6, 2019.            Attorney Diaz was directed to produce

documents by Order [ECF 51] entered April 10, 2019. A further Order to Show Cause [ECF 58]

was entered May 7, 2019. Substantially more than the thirty days’ notice provided in Local Rule

2090-2(B)(1) has elapsed.

       Attorney Diaz’s conduct in connection with these proceedings has reeked of bad faith.

She completely failed to comply with the Order [ECF 51] to produce documents, and failed in the

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substantial ways discussed above to comply with the further Order to Show Cause [ECF 58]. It

is impossible to conclude that her failure to comply with these Orders was anything other than

willful. Her standard operating procedure similarly reeks of bad faith. Her practice has serious

criminal implications. 17 At best, hers is an “empty head but pure heart” defense. But as the

Seventh Circuit has succinctly put it, “[a]n empty head but a pure heart is no defense.” Thornton

v. Wahl, 787 F.2d 1151, 1154 (7th Cir. 1986).

         The harm that Attorney Diaz has perpetrated in her practice goes beyond the injury to her

clients and to the other parties in interest in her cases. As Chief Judge James J. Robinson of the

Northern District of Alabama found in a related context, “[t]he harm goes beyond the immediate

parties in interest. The credibility of bankruptcy jurisprudence, including its courts, judges,

trustees, and lawyers, is diluted with each fallacious case like these.” In re Garrard, 2013 WL

4009324 at *6 (Bankr. N.D. Ala. Aug. 5, 2013).

         Attorney Diaz’s conduct in this proceeding is intolerable. Her method of practice is

grossly incompetent, and there is no reason to believe that it can be made to improve. No amount

of continuing legal education could possibly fill the gaps of incompetence demonstrated here.

         Which leads to the ultimate question: what is the appropriate remedy here? Attorney Diaz

cannot be allowed to practice before this Court. Local Rule 2090-2(B) authorizes a single judge

of this Court to “suspend” an attorney and the Court will do so. This Court’s Local Rules contain

no provision for the disbarment of an attorney for the practical reason that there is no separate bar

of the bankruptcy court.           Local Rule 2090-1(A)(1) requires, with limited exceptions not

applicable here, that an attorney practicing before this Court must “be a member of the Bar of the



17 See, Ronald R. Peterson, Criminal Liability for the Bankruptcy Practitioner, Chapter 16 in Attorney Liability in
Bankruptcy, American Bar Association (2006).

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United States District Court for the Southern District of Florida.” In turn, Local Special Rule 1

of the Special Rules Governing the Admission and Practice of Attorneys (the “District Court

Special Rules”) provides that “[a]n attorney is qualified for admission to the bar of this District if

the attorney is currently a member in good standing of The Florida Bar.”

        This Court concludes that Attorney Diaz is grossly incompetent to practice law in this

Court or anywhere else. It will therefore refer Attorney Diaz to the Ad Hoc Committee on

Attorney Admissions, Peer Review and Attorney Grievance (the “Committee”) created by Rule 5

of the District Court Special Rules, pursuant to District Court Special Rule 5(b), which provides

in relevant part:

        (1)     Referral. Any District Judge, Magistrate Judge, or Bankruptcy Judge shall
        refer in writing to the Committee the name of any attorney he or she has observed
        practicing law in a manner which raises significant question as to the adequacy of
        such attorney’s ability to represent clients in a competent manner. The referral
        shall be accompanied by a statement of the reasons why such question is raised.


        This Order in its entirety constitutes this Court’s statement of the reasons why the question

of Attorney’s Diaz’s competence is raised. The Court’s recommendation to the Committee is that

it recommend to the District Court that Attorney Diaz be disbarred.

        The Court will also refer Attorney Diaz to The Florida Bar with a recommendation that

Attorney Diaz be disbarred.

        Based upon the foregoing, it is ORDERED:

        1)      Attorney Maite Diaz is hereby PROHIBITED from filing any new debtor case

commencing July 1, 2019.

        2)      Attorney Maite Diaz is hereby SUSPENDED FROM PRACTICE before this

Court for a period of TWO YEARS commencing August 1, 2019.


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       3)      The Clerk of this Court is DIRECTED to terminate Attorney Maite Diaz’s

CM/ECF privileges effective August 1, 2019.

       4)      Attorney Maite Diaz is hereby REFERRED to the Ad Hoc Committee on Attorney

Admissions, Peer Review and Attorney Grievance of the United States District Court for the

Southern District of Florida for review of Attorney Maite Diaz’s ability to represent clients in a

competent manner, with a recommendation to the Committee that it recommend to the District

Court that Attorney Maite Diaz be disbarred. The Clerk of this Court is DIRECTED to serve a

copy of this Order on the Committee.

       5)      Attorney Maite Diaz is hereby REFERRED to The Florida Bar for discipline as

unfit to practice law, with a recommendation to The Florida Bar that Attorney Maite Diaz be

disbarred. The Clerk of this Court is DIRECTED to serve a copy of this Order on the Executive

Director of The Florida Bar.

       6)      Attorney Maite Diaz is hereby REFERRED to the Office of the United States

Trustee for such investigation as the United States Trustee sees fit. The Clerk of this Court is

DIRECTED to serve a copy of this Order on the United States Trustee for Region 21.

       7)      Attorney Maite Diaz is hereby REFERRED to the United States Attorney for the

Southern District of Florida for such investigation as the United States Attorney sees fit. The

Clerk of this Court is DIRECTED to serve a copy of this Order on the United States Attorney.

       8)      The Clerk of this Court is DIRECTED to file a Notice in each case in which

Attorney Maite Diaz appears as counsel of record in substantially the form attached hereto as

Exhibit 11.

                                                      ###
Copies to: all parties in interest, and as directed above.


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 Exhibit 1.1
                                    Case
                                    Case 18-15928-JKO
                                         18-22794-RAM Doc
                                                       Doc73
                                                           21 Filed
                                                               Filed06/25/19
                                                                     11/26/18 Page
                                                                               Page40
                                                                                    18ofof172
                                                                                           54
              Fill in this information to identify your case:

 Debtor 1                    Rene Pazmino
                             First Name                     Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name                     Last Name


 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 Case number            18-22794
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

                                                                                                                                  Fla. Const. Art. X, §4(a)(1);
      9550 NW 33rd Ave
                                                                   $278,067.00                                   $44,248.00
                                                                                                                                  Fla. Stat.§§ 222.01, 222.02
      Miami FL, 33147-2789                                                                   100% of fair market value, up to
      Line from Schedule A/B: 1.3                                                             any applicable statutory limit

      Ford                                                                                                                        Fla. Stat. § 222.25(1)
      F150 Pickup 2WD
                                                                      $1,000.00                                    $1,000.00
      1997                                                                                   100% of fair market value, up to
      180000                                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.1

      household goods and furnishings                                                                                             Fla. Const. Art X, § 4(a)(2)
      Line from Schedule A/B: 6.1
                                                                      $1,000.00                                    $1,000.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 1
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              Fill in this information to identify your case:

 Debtor 1                   Rene Pazmino
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 Case number           18-22794
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Caliber Home Loans                       Describe the property that secures the claim:               $282,920.46              $155,676.00          $127,244.46
         Creditor's Name
                                                  2728 NW 28th St, Miami, FL
                                                  33142-6426
                                                  debtor wants to cramdown
         PO Box 24610                             As of the date you file, the claim is: Check all that
         Oklahoma City, OK                        apply.
         73124-0610                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number


 2.2     Chase Bank                               Describe the property that secures the claim:               $233,819.00              $278,067.00                      $0.00
         Creditor's Name
                                                  9550 NW 33rd Ave, Miami, FL
                                                  33147-2789
                                                  up to date, keep Homestead
                                                  property
         PO Box 15922                             As of the date you file, the claim is: Check all that
         Wilmington, DE                           apply.
         19850-5922                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          2005-11                   Last 4 digits of account number        0608
Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 3
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 Debtor 1 Rene Pazmino                                                                                     Case number (if know)   18-22794
              First Name                  Middle Name                     Last Name




 2.3    Miami Dade County                          Describe the property that secures the claim:                   $1,291.78        $155,676.00     $1,291.78
        Creditor's Name
                                                   2728 NW 28th St, Miami, FL
                                                   33142-6426
        Permitting and
                                                   debtor wants to cramdown
        Inspection Center                          As of the date you file, the claim is: Check all that
        11805 SW 26th St # 230                     apply.
        Miami, FL 33175-2464                        Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


        Miami Dade County Tax
 2.4                                               Describe the property that secures the claim:                   unknown          $278,067.00         $0.00
        Collector
        Creditor's Name
                                                   9550 NW 33rd Ave, Miami, FL
                                                   33147-2789
                                                   up to date, keep Homestead
                                                   property
        Code Enforecment                           As of the date you file, the claim is: Check all that
        111 NW 1st St # 1750                       apply.
        Miami, FL 33128-1905                        Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.5    Mr. Cooper                                 Describe the property that secures the claim:                $530,642.11         $365,000.00   $165,642.11
        Creditor's Name
                                                   19618 NW 79th Ave, Hialeah, FL
                                                   33015-6361
                                                   shortsale pending valuation
                                                   Realquest
                                                   As of the date you file, the claim is: Check all that
                                                   apply.
                                                    Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 3
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 Debtor 1 Rene Pazmino                                                                             Case number (if know)        18-22794
             First Name                Middle Name                 Last Name




 Add the dollar value of your entries in Column A on this page. Write that number here:                      $1,048,673.35
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                     $1,048,673.35

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                              page 3 of 3
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      Fill in this information to identify your case:

 Debtor 1                   Rene Pazmino
                            First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 Case number           18-22794
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim          Priority              Nonpriority
                                                                                                                                            amount                amount
 2.1          Florida Dept of Revenue                              Last 4 digits of account number         0662              $1,554.79             $1,554.79                    $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?
              PO Box 6668
              Tallahassee, FL 32314-6668
              Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                              Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 18
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 Debtor 1 Pazmino, Rene                                                                               Case number (if know)         18-22794

 2.2      Internal Revenue Service                            Last 4 digits of account number                               $0.00              $0.00       $0.00
          Priority Creditor's Name
                                                              When was the debt incurred?
          PO Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State ZIp Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                       Contingent
       Debtor 1 only                                          Unliquidated
        Debtor 2 only                                         Disputed
        Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

        At least one of the debtors and another               Domestic support obligations
        Check if this claim is for a community debt          Taxes and certain other debts you owe the government
       Is the claim subject to offset?                         Claims for death or personal injury while you were intoxicated
       No                                                     Other. Specify
        Yes

 2.3      Special Asst. U.S. Attorney                         Last 4 digits of account number                               $0.00              $0.00       $0.00
          Priority Creditor's Name
                                                              When was the debt incurred?
          1000 S. Pine Island Road #300
          Fort Lauderdale, FL 333240000
          Number Street City State ZIp Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                       Contingent
       Debtor 1 only                                          Unliquidated
        Debtor 2 only                                         Disputed
        Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

        At least one of the debtors and another               Domestic support obligations
        Check if this claim is for a community debt          Taxes and certain other debts you owe the government
       Is the claim subject to offset?                         Claims for death or personal injury while you were intoxicated
       No                                                     Other. Specify
        Yes

 2.4      U.S. Attorney General                               Last 4 digits of account number                               $0.00              $0.00       $0.00
          Priority Creditor's Name
                                                              When was the debt incurred?
          950 Pennsylvania Ave NW
          Washington, DC 20530-0009
          Number Street City State ZIp Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                       Contingent
       Debtor 1 only                                          Unliquidated
        Debtor 2 only                                         Disputed
        Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

        At least one of the debtors and another               Domestic support obligations
        Check if this claim is for a community debt          Taxes and certain other debts you owe the government
       Is the claim subject to offset?                         Claims for death or personal injury while you were intoxicated
       No                                                     Other. Specify
        Yes




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 18
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 Debtor 1 Pazmino, Rene                                                                                     Case number (if know)          18-22794

 2.5        United States Attorney                                Last 4 digits of account number                                  $0.00                 $0.00                 $0.00
            Priority Creditor's Name
                                                                  When was the debt incurred?
            99 NE 4th St
            Miami, FL 33132-2131
            Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                             Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes
 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        Amex                                                     Last 4 digits of account number         2153                                                       $1,164.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             2018-02
            PO Box 297871
            Fort Lauderdale, FL 33329-7871
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Revolving account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 3 of 18
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 4.2      Amex                                                  Last 4 digits of account number       4973                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017-09-06
          PO Box 297871
          Fort Lauderdale, FL 33329-7871
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.3      Amex                                                  Last 4 digits of account number       8573                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017-01-26
          PO Box 297871
          Fort Lauderdale, FL 33329-7871
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.4      Amex Dsnb                                             Last 4 digits of account number       4011                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2009-04-19
          9111 Duke Blvd
          Mason, OH 45040-8999
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.5      Ana Cummings                                          Last 4 digits of account number                                                   unknown
          Nonpriority Creditor's Name
          c/o Carlos Santos Esq.                                When was the debt incurred?
          3400 Coral Way # 5Thfl
          Miami, FL 33145-3053
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.6      Bankamerica                                           Last 4 digits of account number       8570                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2006-01-30
          4909 Savarese Cir
          Tampa, FL 33634-2413
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      CreditLine account


 4.7      Cap1/berpl                                            Last 4 digits of account number       1787                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2007-11
          90 Christiana Rd
          New Castle, DE 19720-3118
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.8      Chase Card                                            Last 4 digits of account number       5792                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2002-07
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.9      Chase Card                                            Last 4 digits of account number       9574                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2010-08-25
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.10     Chase Card                                            Last 4 digits of account number       1470                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2006-03-03
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.11     Chase Card                                            Last 4 digits of account number       0058                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2006-10
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.12     Chase Card                                            Last 4 digits of account number       3005                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2003-08
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.13     Chase Card                                            Last 4 digits of account number       6398                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2006-03-03
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.14     Chase Card                                            Last 4 digits of account number       2774                                        unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2010-08-25
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.15     Chase Card                                            Last 4 digits of account number       2774                                           $-1.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2010-08-25
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.16     Citi                                                  Last 4 digits of account number       8455                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2000-05
          PO Box 6241
          Sioux Falls, SD 57117-6241
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.17     Comenitycb/lendingclub                                Last 4 digits of account number       0490                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2016-03-15
          PO Box 182120
          Columbus, OH 43218-2120
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.18     Credit One Bank NA                                    Last 4 digits of account number       5467                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2012-10
          PO Box 98875
          Las Vegas, NV 89193-8875
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.19     Discoverbank                                          Last 4 digits of account number       4271                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2007-12-03
          PO Box 15316
          Wilmington, DE 19850-5316
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.20     Dsnb Macys                                            Last 4 digits of account number       1531                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2009-04-19
          PO Box 8218
          Mason, OH 45040-8218
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.21     Ford Motor Credit Company                             Last 4 digits of account number                                                       $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 6508
          Mesa, AZ 85216-6508
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.22     Jefferson Capital Syst                                Last 4 digits of account number       9003                                         $798.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017-02
          16 McLeland Rd
          Saint Cloud, MN 56303-2198
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account




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 4.23     Lennar Spanish Lakes HOA                              Last 4 digits of account number                                                       $0.00
          Nonpriority Creditor's Name
          C/O ASSOCIATION SPECIALTY                             When was the debt incurred?
          GROUP LLC
          9050 Pines Blvd Ste 480
          Pembroke Pines, FL 33024-6415
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.24     llidia Gonzalez                                       Last 4 digits of account number                                                       $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          2467 NW 98th St
          Miami, FL 33147-2135
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.25     Mcydsnb                                               Last 4 digits of account number       5340                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2009-04
          PO Box 8218
          Mason, OH 45040-8218
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.26     Mcydsnb                                               Last 4 digits of account number       6760                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2001-05
          PO Box 8218
          Mason, OH 45040-8218
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.27     Miami Dade County                                     Last 4 digits of account number                                                       $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          111 NW 1st St # 2810
          Miami, FL 33128-1930
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.28     Midland Funding                                       Last 4 digits of account number       3974                                        $4,668.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017-09
          2365 Northside Dr Ste 30
          San Diego, CA 92108-2709
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account




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 4.29     Mr. Cooper                                            Last 4 digits of account number                                                       $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          8950 Cypress Waters Blvd
          Coppell, TX 75019-4620
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.30     Ntb/cbna                                              Last 4 digits of account number       1383                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2009-04-13
          PO Box 6497
          Sioux Falls, SD 57117-6497
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.31     Portfolio Recov Assoc                                 Last 4 digits of account number       0635                                         $461.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017-12-21
          120 Corporate Blvd Ste 1
          Norfolk, VA 23502-4952
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account




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 4.32     Real time Resolutions                                 Last 4 digits of account number                                                       $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          1349 Empire Central Dr # 150
          Dallas, TX 75247-4029
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.33     Syncb/Ashley/City Furn                                Last 4 digits of account number       0600                                            $0.00
          Nonpriority Creditor's Name
          C/o                                                   When was the debt incurred?           2004-10
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.34     Syncb/brandsmart                                      Last 4 digits of account number       3561                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2000-12-20
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.35     Syncb/jcp                                             Last 4 digits of account number       0743                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2006-01
          PO Box 965007
          Orlando, FL 32896-5007
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.36     Syncb/lowes                                           Last 4 digits of account number       0294                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2005-01
          PO Box 956005
          Orlando, FL 32896
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.37     Thd/Cbna                                              Last 4 digits of account number       7748                                        $4,247.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2014-06
          PO Box 6497
          Sioux Falls, SD 57117-6497
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.38     Wells Fargo Bank                                      Last 4 digits of account number       2882                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2007-04-02
          PO Box 14517
          Des Moines, IA 50306-3517
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.39     Wells Fargo Bank                                      Last 4 digits of account number       9206                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2007-04
          PO Box 14517
          Des Moines, IA 50306-3517
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.40     Wffnatbank                                            Last 4 digits of account number       0963                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2002-12
          Des Moines, IA 50306
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.41      Wffnatbank                                              Last 4 digits of account number          0963                                                   $0.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?              2002-12
           Des Moines, IA 50306
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                           Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                 Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify      Revolving account

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Ana Cumming                                                 Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 652 NW 1st St                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Miami, FL 33128-1506
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Greentree Servicing                                         Line 4.32 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
                                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Robertson, Anschutz & Schneid,                              Line 4.29 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.L                                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 3010 N Military Trl Ste 300
 Boca Raton, FL 33431-6393
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Ronald Neiwirth Esq.                                        Line 4.24 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Gordon and Rees LLP                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 100 SE 2nd St # 3900
 Miami, FL 33131-2153
                                                             Last 4 digits of account number


 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                 Total Claim
                        6a.   Domestic support obligations                                                  6a.      $                         0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.      $                     1,554.79
                        6c.   Claims for death or personal injury while you were intoxicated                6c.      $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.      $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.      $                     1,554.79

                                                                                                                                 Total Claim
                        6f.   Student loans                                                                 6f.      $                         0.00
 Total claims



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  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                   6g.     $                   0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts       6h.     $                   0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                           $              11,337.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.     $              11,337.00




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 Exhibit 2.1
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Adriana Galvez
                             First Name                             Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                             Middle Name                     Last Name


                                                             SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:                     DIVISION

 Case number            0:17-bk-14768                                                                                                                        Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                  12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.       Where is the property?




 1.1                                                                        What is the property? Check all that apply


        1801 NW 111th Ave
                                                                               Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Pembroke Pines                    FL        33026-2254                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                              $364,000.00                 $364,000.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.

                                                                               Debtor 1 only
                                                                                   Debtor 2 only
        County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                         $364,000.00
 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
    Yes



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4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                    $0.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                           Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   household goods and furnishings                                                                                        $1,000.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.     Describe.....
                                   regular household electronics                                                                                           $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.    Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.    Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.    Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.     Describe.....
                                   normal Wearing Apparel                                                                                                    $50.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes.     Describe.....
                                   costume Jewelry                                                                                                           $20.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
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     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                              $1,570.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                              Cash on hand                             $50.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:


                                              17.1.                                             Wells Fargo Checking 0426                                            $184.41



                                              17.2.      Savings Account                        Wells Fargo 1331                                                        $7.00



                                              17.3.      Checking Account                       Wells Fargo 5269                                                     $653.04


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                            Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                      % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                              Type of account:                                  Institution name:
                                                                                                403B acct through employer                                              $0.00

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                                                                                          172
 Debtor 1        Galvez, Adriana                                                                              Case number (if known)    0:17-bk-14768

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                           Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                             Beneficiary:                           Surrender or refund
                                                                                                                                            value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


Official Form 106A/B                                                  Schedule A/B: Property                                                                 page 4
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 Debtor 1         Galvez, Adriana                                                                                                       Case number (if known)   0:17-bk-14768
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.       Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.       Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.      Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................                     $894.45

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $364,000.00
 56. Part 2: Total vehicles, line 5                                                                                 $0.00
 57. Part 3: Total personal and household items, line 15                                                        $1,570.00
 58. Part 4: Total financial assets, line 36                                                                      $894.45
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $2,464.45             Copy personal property total               $2,464.45

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $366,464.45




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 5
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                                                                                      36
 Fill in this information to identify your case:

 Debtor 1                    Adriana Galvez
                             First Name                   Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)         First Name                   Middle Name                      Last Name


                                                    SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:            DIVISION

 Case number            0:17-bk-14768
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                       4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on          Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                  portion you own
                                                             Copy the value from        Check only one box for each exemption.
                                                             Schedule A/B

      household goods and furnishings                                                                                            Fla. Const. Art X, § 4(a)(2)
      Line from Schedule A/B: 6.1
                                                                    $1,000.00                                     $1,000.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
             No
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                           page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Adriana Galvez

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA, FORT
                                              LAUDERDALE DIVISION

Case number               0:17-bk-14768                                                                    Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation              International Coordinator
       Include part-time, seasonal, or
       self-employed work.                   Employer's name         Cleveland Clinic                             Self-Employed - Realtor

       Occupation may include student or Employer's address
                                                                     PO Box 89410
       homemaker, if it applies.
                                                                     Cleveland, OH 44101-6410

                                             How long employed there?           5 years                                    10 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $         4,704.01        $             0.00

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      4,704.01               $      0.00




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
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Debtor 1    Galvez, Adriana                                                                         Case number (if known)    0:17-bk-14768


                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $      4,704.01       $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $        704.40        $              0.00
      5b.    Mandatory contributions for retirement plans                                    5b.        $        141.16        $              0.00
      5c.    Voluntary contributions for retirement plans                                    5c.        $         70.57        $              0.00
      5d.    Required repayments of retirement fund loans                                    5d.        $          0.00        $              0.00
      5e.    Insurance                                                                       5e.        $        507.50        $              0.00
      5f.    Domestic support obligations                                                    5f.        $          0.00        $              0.00
      5g.    Union dues                                                                      5g.        $          0.00        $              0.00
      5h.    Other deductions. Specify: Ipp co                                               5h.+       $        211.75 +      $              0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $          1,635.38       $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          3,068.63       $               0.00
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00    $         633.33
      8b. Interest and dividends                                                             8b.        $              0.00    $           0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00    $              0.00
      8d. Unemployment compensation                                                          8d.        $              0.00    $              0.00
      8e.    Social Security                                                                 8e.        $              0.00    $              0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $               0.00
      8g. Pension or retirement income                                                       8g. $                     0.00   $               0.00
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $               0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00   $           633.33

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            3,068.63 + $           633.33 = $        3,701.96
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.    +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.       $          3,701.96
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                Adriana Galvez                                                                       Check if this is:
                                                                                                              An amended filing
Debtor 2                                                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA, FORT                                         MM / DD / YYYY
                                          LAUDERDALE DIVISION

Case number           0:17-bk-14768
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s      Does dependent
                                                                                                                                        live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            son                                  16              Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                              0.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                            0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                            0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                            0.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                            0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                            0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Galvez, Adriana                                                                           Case number (if known)       0:17-bk-14768

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              208.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                50.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              300.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              800.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                               20.00
10.   Personal care products and services                                                      10. $                                                 0.00
11.   Medical and dental expenses                                                              11. $                                                50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                50.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                  0.00
      15b. Health insurance                                                                   15b. $                                                  0.00
      15c. Vehicle insurance                                                                  15c. $                                                  0.00
      15d. Other insurance. Specify:                                                          15d. $                                                  0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
      17c. Other. Specify:                                                                    17c. $                                                  0.00
      17d. Other. Specify:                                                                    17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       1,678.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       1,678.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               3,701.96
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              1,678.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                               2,023.96

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Exhibit 3.1
                                Case
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                                                    Doc73
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                                                                                                                                172
 Fill in this information to identify your case:

 Debtor 1                Raul Hernan Ochoa
                         First Name                       Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)     First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                       4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on          Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                  portion you own
                                                             Copy the value from        Check only one box for each exemption.
                                                             Schedule A/B

      Honda                                                                                                                      Fla. Stat. § 222.25(1)
      Accord
                                                                        $625.00                                        $0.00
      1997                                                                                  100% of fair market value, up to
      200000                                                                                 any applicable statutory limit
      Line from Schedule A/B: 3.1

      Honda                                                                                                                      Fla. Const. Art X, § 4(a)(2)
      Accord
                                                                        $625.00                                     $625.00
      1997                                                                                  100% of fair market value, up to
      200000                                                                                 any applicable statutory limit
      Line from Schedule A/B: 3.1

      Chrysler                                                                                                                   Fla. Stat. § 222.25(1)
      Town and Country
                                                                    $1,600.00                                       $814.00
      2002                                                                                  100% of fair market value, up to
      140000                                                                                 any applicable statutory limit
      Line from Schedule A/B: 3.2




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                           page 1 of 2
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     Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                   portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B

     Decorative Items                                                                                                        Fla. Const. Art X, § 4(a)(2)
                                                                       $200.00                                  $200.00
     Lamps, Mirrors, Artificial Plants, Art                                             100% of fair market value, up to
     Frames, Picture Frames, Family                                                      any applicable statutory limit
     Pictures, Curtains, Candles, Candle
     Holders, Decorative Throw Pillows,
     Rugs, Decorative Wall Plaques,
     Decorative Wall Plates, Decorative
     Wall Clock, Glass Vases, Cera
     Line from Schedule A/B: 8.1

     Assorted Apparel                                                                                                        Fla. Const. Art X, § 4(a)(2)
     Line from Schedule A/B: 11.1
                                                                        $20.00                                   $20.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Costume Jewlery                                                                                                         Fla. Const. Art X, § 4(a)(2)
     Line from Schedule A/B: 14.1
                                                                        $20.00                                   $20.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Cash on hand                                                                                                            Fla. Const. Art X, § 4(a)(2)
     Line from Schedule A/B: 16.1
                                                                    Unknown                                      $10.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Savings account ending in: 5617-00                                                                                      Fla. Const. Art X, § 4(a)(2)
     Space Coast
                                                                        $12.50                                   $12.50
     Line from Schedule A/B: 17.1                                                       100% of fair market value, up to
                                                                                         any applicable statutory limit

     space coast 6012                                                                                                        Fla. Const. Art X, § 4(a)(2)
     Line from Schedule A/B: 17.2
                                                                    $1,148.45                                   $112.50
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                      page 2 of 2
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              Fill in this information to identify your case:

 Debtor 1                 Guillermo Valdes
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


                                                    SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:            DIVISION

 Case number
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

                                                                                                                                  Fla. Const. Art. X, §4(a)(1);
      10525 NW 10th St # B14-101
                                                                   $162,048.00                                   $67,048.00
                                                                                                                                  Fla. Stat.§§ 222.01, 222.02
      Pembroke Pines FL, 33026-3911                                                          100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                             any applicable statutory limit

      Toyota                                                                                                                      Fla. Stat. § 222.25(1)
      Corolla
                                                                      $1,750.00                                    $1,000.00
      2002                                                                                   100% of fair market value, up to
      107000                                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.1

      Toyota                                                                                                                      Fla. Const. Art X, § 4(a)(2)
      Corolla
                                                                      $1,750.00                                      $750.00
      2002                                                                                   100% of fair market value, up to
      107000                                                                                  any applicable statutory limit
      Line from Schedule A/B: 3.1

      household goods and furnishings                                                                                             Fla. Const. Art X, § 4(a)(2)
      Line from Schedule A/B: 6.1
                                                                          $800.00                                    $250.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Stonegate Bank 1881                                                   $0.00                                                Fla. Stat. § 222.201; 11 U.S.C.
      Line from Schedule A/B: 17.1                                                                                                § 522(d)(10)(A)
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 2
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 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                           page 2 of 2
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              Fill in this information to identify your case:

 Debtor 1                   Guillermo Valdes
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


                                                     SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:             DIVISION

 Case number
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Wells Fargo Home
 2.1                                              Describe the property that secures the claim:                 $95,000.00             $162,048.00                      $0.00
         Mortgage
         Creditor's Name
                                                  10525 NW 10th St # B14-101,
                                                  Pembroke Pines, FL 33026-3911
                                                  As of the date you file, the claim is: Check all that
         PO Box 660455                            apply.
         Dallas, TX 75266-0455                     Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number



 Add the dollar value of your entries in Column A on this page. Write that number here:                                $95,000.00
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                               $95,000.00

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 1
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      Fill in this information to identify your case:

 Debtor 1                   Guillermo Valdes
                            First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


                                                      SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:              DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim           Priority             Nonpriority
                                                                                                                                             amount               amount
 2.1          Internal Revenue Service                             Last 4 digits of account number                                   $0.00               $0.00                  $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?
              PO Box 7346
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                              Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 15
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 Debtor 1 Valdes, Guillermo                                                                              Case number (if know)

 2.2       Special Asst. U.S. Attorney                          Last 4 digits of account number                               $0.00     $0.00       $0.00
           Priority Creditor's Name
                                                                When was the debt incurred?
           1000 S. Pine Island Road #300
           Fort Lauderdale, FL 333240000
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                        Contingent
        Debtor 1 only                                           Unliquidated
         Debtor 2 only                                          Disputed
         Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

         At least one of the debtors and another                Domestic support obligations
         Check if this claim is for a community debt           Taxes and certain other debts you owe the government
        Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
        No                                                      Other. Specify
         Yes

 2.3       U.S. Attorney General                                Last 4 digits of account number                               $0.00     $0.00       $0.00
           Priority Creditor's Name
                                                                When was the debt incurred?
           950 Pennsylvania Ave NW
           Washington, DC 20530-0009
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                        Contingent
        Debtor 1 only                                           Unliquidated
         Debtor 2 only                                          Disputed
         Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

         At least one of the debtors and another                Domestic support obligations
         Check if this claim is for a community debt           Taxes and certain other debts you owe the government
        Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
        No                                                      Other. Specify
         Yes

 2.4       United States Attorney                               Last 4 digits of account number                               $0.00     $0.00       $0.00
           Priority Creditor's Name
                                                                When was the debt incurred?
           99 NE 4th St
           Miami, FL 33132-2131
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                        Contingent
        Debtor 1 only                                           Unliquidated
         Debtor 2 only                                          Disputed
         Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

         At least one of the debtors and another                Domestic support obligations
         Check if this claim is for a community debt           Taxes and certain other debts you owe the government
        Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
        No                                                      Other. Specify
         Yes
 Part 2:      List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.



Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 2 of 15
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 Debtor 1 Valdes, Guillermo                                                                                 Case number (if know)


 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        Amex                                                     Last 4 digits of account number         4113                                                             $0.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             2006-12
            PO Box 297871
            Fort Lauderdale, FL 33329-7871
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Revolving account


 4.2        Biotel Heart /Cardionet LLC                              Last 4 digits of account number         9544                                                           $25.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            PO Box 508
            Malvern, PA 19355-0508
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify

 4.3        Capital One                                              Last 4 digits of account number         3842                                                       $1,092.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             2013-01
            15000 Capital One Dr
            Richmond, VA 23238-1119
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Revolving account



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 Debtor 1 Valdes, Guillermo                                                                          Case number (if know)

 4.4      Capital One                                           Last 4 digits of account number       8079                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2014-01
          15000 Capital One Dr
          Richmond, VA 23238-1119
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.5      Comenitycb/lendingclub                                Last 4 digits of account number       0662                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2014-09
          PO Box 182120
          Columbus, OH 43218-2120
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.6      Dsnb Macys                                            Last 4 digits of account number       3678                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2018-03
          PO Box 8218
          Mason, OH 45040-8218
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 Debtor 1 Valdes, Guillermo                                                                          Case number (if know)

 4.7      Kohls/capone                                          Last 4 digits of account number       3670                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2014-03
          N56 W 17000 Ridgewood Dr
          Menomonee Falls, WI 53051
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.8      Memorial Healthcare Systems                           Last 4 digits of account number       7593                                         $126.15
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 538522
          Atlanta, GA 30353-8522
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.9      Memorial Hospital                                     Last 4 digits of account number                                                      $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 2856
          Raleigh, NC 27602-2856
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




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 4.10     Memorial Physician Group                              Last 4 digits of account number       0635                                          $15.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 864691
          Orlando, FL 32886
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.11     Pembroke Pines MRI Inc.                               Last 4 digits of account number       3035                                          $21.59
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 5206
          Fort Lauderdale, FL 33310-5206
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.12     Sears/Cbna                                            Last 4 digits of account number       5270                                        $2,214.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2012-12
          PO Box 6282
          Sioux Falls, SD 57117-6282
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.13     Sears/Cbna                                            Last 4 digits of account number       0035                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2014-04-13
          PO Box 6189
          Sioux Falls, SD 57117-6189
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.14     South Florida Ent Assoc.                              Last 4 digits of account number       1686                                          $10.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          14750 NW 77th Ct STE 200
          Hialeah, FL 33016-1507
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.15     Syncb/brandsmart                                      Last 4 digits of account number       4307                                        $1,055.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2014-11
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.16     Syncb/brandsmart                                      Last 4 digits of account number       9020                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2013-05-27
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.17     Syncb/brandsmart                                      Last 4 digits of account number       9331                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2008-03-27
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.18     Syncb/brandsmart                                      Last 4 digits of account number       6412                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           1995-03
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.19     Syncb/Car Care Pep Boy                                Last 4 digits of account number       1414                                           $0.00
          Nonpriority Creditor's Name
          C/o                                                   When was the debt incurred?           2015-10
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.20     Syncb/Carcare One                                     Last 4 digits of account number       0069                                           $0.00
          Nonpriority Creditor's Name
          C/o                                                   When was the debt incurred?           2004-02
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.21     Syncb/Care Credit                                     Last 4 digits of account number       1831                                           $0.00
          Nonpriority Creditor's Name
          C/o                                                   When was the debt incurred?           2006-07-26
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.22     Syncb/Care Credit                                     Last 4 digits of account number       5649                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2014-05
          950 Forrer Blvd
          Kettering, OH 45420-1469
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.23     Syncb/City Furniture                                  Last 4 digits of account number       7482                                            $0.00
          Nonpriority Creditor's Name
          C/o                                                   When was the debt incurred?           2004-01-25
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.24     Syncb/jcp                                             Last 4 digits of account number       8257                                         $304.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2013-05
          PO Box 965007
          Orlando, FL 32896-5007
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.25     Syncb/lowes                                           Last 4 digits of account number       4056                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2018-03
          PO Box 956005
          Orlando, FL 32896
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.26     Syncb/Rooms to Go                                     Last 4 digits of account number       7308                                            $0.00
          Nonpriority Creditor's Name
          C/o                                                   When was the debt incurred?           2013-08
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.27     Syncb/Walmart                                         Last 4 digits of account number       2880                                         $690.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017-04
          PO Box 965024
          Orlando, FL 32896-5024
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.28     Td Bank N.A.                                          Last 4 digits of account number       1342                                        $7,371.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2018-04
          32 Chestnut St
          Lewiston, ME 04240-7744
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.29     Td Bank USA/Targetcred                                Last 4 digits of account number       3841                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2013-11
          PO Box 673
          Minneapolis, MN 55440-0673
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.30     Thd/Cbna                                              Last 4 digits of account number       8167                                         $200.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2016-12
          PO Box 6497
          Sioux Falls, SD 57117-6497
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 12 of 15
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                                                                                                                               46
 Debtor 1 Valdes, Guillermo                                                                          Case number (if know)

 4.31     Wells Fargo                                           Last 4 digits of account number       7305                                         $617.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2014-06
          PO Box 14517
          Des Moines, IA 50306-3517
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.32     Wells Fargo                                           Last 4 digits of account number       8205                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017-08-29
          PO Box 14517
          Des Moines, IA 50306-3517
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.33     Wf Crd Svc                                            Last 4 digits of account number       6251                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2007-11-02
          Des Moines, IA 50306
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 Debtor 1 Valdes, Guillermo                                                                             Case number (if know)

 4.34      Wf Crd Svc                                              Last 4 digits of account number       8849                                                    $0.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?           2007-11-02
           Des Moines, IA 50306
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                           Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                 Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify      Revolving account


 4.35      Wffnb/Mattress Firm                                     Last 4 digits of account number       3928                                                    $0.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?           2013-08-31
           Des Moines, IA 50306
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                           Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                 Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify      Revolving account

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                 Total Claim
                        6a.   Domestic support obligations                                               6a.       $                           0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated             6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.       $                           0.00

                                                                                                                                 Total Claim
                        6f.   Student loans                                                              6f.       $                           0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount       6i.
                              here.                                                                                $                      13,740.74



Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 14 of 15
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 Debtor 1 Valdes, Guillermo                                                                      Case number (if know)

                        6j.   Total Nonpriority. Add lines 6f through 6i.                         6j.      $             13,740.74




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                             Page 15 of 15
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  Exhibit 5.1
                                   Case
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                                                       Doc7311 Filed
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                                                                                            39
 Fill in this information to identify your case:

 Debtor 1                    Lillian Rosario Stewart
                             First Name                   Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)         First Name                   Middle Name                      Last Name


                                                    SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:            DIVISION

 Case number            9:17-bk-12567
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                       4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on          Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                  portion you own
                                                             Copy the value from        Check only one box for each exemption.
                                                             Schedule A/B

      houehold goods and furnishings                                                                                             Fla. Const. Art X, § 4(a)(2)
      Line from Schedule A/B: 6.1
                                                                        $800.00                                     $800.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

      TD bank 7949                                                                                                               Fla. Const. Art X, § 4(a)(2)
      Line from Schedule A/B: 17.1
                                                                        $713.09                                     $200.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
             No
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                           page 1 of 1
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  Exhibit 5.2
                                   Case
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                                                                                         of 172
                                                                                            39
 Fill in this information to identify your case:

 Debtor 1                   Lillian Rosario Stewart
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


                                                     SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:             DIVISION

 Case number           9:17-bk-12567
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Atlantis III by the Sea                  Describe the property that secures the claim:                 $54,000.00             $283,000.00             $5,384.17
         Creditor's Name
                                                  10200 S Ocean Dr # 201, Jensen
                                                  Beach, FL 34957-2564
         c/o Centerstate Bank                     As of the date you file, the claim is: Check all that
         PO Box 669098                            apply.
         Miami, FL 33166-9427                      Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number


 2.2     Discover Bank                            Describe the property that secures the claim:                 $29,929.00             $283,000.00            $29,929.00
         Creditor's Name
                                                  10200 S Ocean Dr # 201, Jensen
                                                  Beach, FL 34957-2564
         PO Box 30395                             As of the date you file, the claim is: Check all that
         Salt Lake City, UT                       apply.
         84130-0395                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another        Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        1392

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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 Debtor 1 Lillian Rosario Stewart                                                                           Case number (if know)          9:17-bk-12567
              First Name                  Middle Name                     Last Name



 2.3    Wells Fargo Hm Mortgag                     Describe the property that secures the claim:                  $234,384.17                $283,000.00           $0.00
        Creditor's Name
                                                   10200 S Ocean Dr # 201, Jensen
                                                   Beach, FL 34957-2564
        PO Box 10335                               As of the date you file, the claim is: Check all that
        Des Moines, IA                             apply.
        50306-0335                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         07/06/2010                  Last 4 digits of account number        6976


 Add the dollar value of your entries in Column A on this page. Write that number here:                                  $318,313.17
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                                 $318,313.17

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.2
         BROWARD COUNTY CIRCUIT COURT
                                                                                                    Last 4 digits of account number   1392

         Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.3
         Wells Fargo Home Mtg
         Written Correspondence Resolutions MAC#X                                                   Last 4 digits of account number   6976
         PO Box 10335
         Des Moines, IA 50306-0335




Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                              page 2 of 2
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  Exhibit 5.3
                                  Case
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                                                                                        of 172
                                                                                           39
 Fill in this information to identify your case:

 Debtor 1                   Lillian Rosario Stewart
                            First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


                                                      SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:              DIVISION

 Case number           9:17-bk-12567
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority            Nonpriority
                                                                                                                                              amount              amount
 2.1          Internal Revenue Service                             Last 4 digits of account number                                    $0.00              $0.00                  $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?
              PO Box 7346
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                              Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 6
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 Debtor 1 Stewart, Lillian Rosario                                                                        Case number (if know)         9:17-bk-12567

 2.2       Special Asst. U.S. Attorney                            Last 4 digits of account number                               $0.00           $0.00      $0.00
           Priority Creditor's Name
                                                                  When was the debt incurred?
           1000 S. Pine Island Road #300
           Fort Lauderdale, FL 333240000
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                             Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes

 2.3       U.S. Attorney General                                  Last 4 digits of account number                               $0.00           $0.00      $0.00
           Priority Creditor's Name
                                                                  When was the debt incurred?
           950 Pennsylvania Ave NW
           Washington, DC 20530-0009
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                             Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes

 2.4       United States Attorney                                 Last 4 digits of account number                               $0.00           $0.00      $0.00
           Priority Creditor's Name
                                                                  When was the debt incurred?
           99 NE 4th St
           Miami, FL 33132-2131
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                          Contingent
        Debtor 1 only                                             Unliquidated
         Debtor 2 only                                            Disputed
         Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

         At least one of the debtors and another                  Domestic support obligations
         Check if this claim is for a community debt             Taxes and certain other debts you owe the government
        Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
        No                                                        Other. Specify
         Yes
 Part 2:      List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.



Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 6
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 Debtor 1 Stewart, Lillian Rosario                                                                          Case number (if know)          9:17-bk-12567

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        Capital One Bank USA N                                   Last 4 digits of account number         2806                                                       $2,655.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             06/01/2014
            15000 Capital One Dr
            Richmond, VA 23238-1119
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify

 4.2        Ccs/First National Ban                                   Last 4 digits of account number         5467                                                         $599.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             04/01/2015
            500 E 60th St N
            Sioux Falls, SD 57104-0478
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify

 4.3        Fenix Airways of Florida Inc                             Last 4 digits of account number         CA22                                                     $64,999.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            7925 NW 12th St # 410
            Doral, FL 33126-1822
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify

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 Debtor 1 Stewart, Lillian Rosario                                                                     Case number (if know)            9:17-bk-12567

 4.4      First National Credit Card                              Last 4 digits of account number       5467                                             $75.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?
          PO Box 2496
          Omaha, NE 68103-2496
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify

 4.5      First Premier Bank                                      Last 4 digits of account number       8747                                            $913.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           01/01/2015
          601 S Minnesota Ave
          Sioux Falls, SD 57104-4824
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify

 4.6      Merrick Bank                                            Last 4 digits of account number       7057                                             $88.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?           02/01/2016
          PO Box 9201
          Old Bethpage, NY 11804-9001
          Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                           Contingent
           Debtor 2 only                                          Unliquidated
           Debtor 1 and Debtor 2 only                             Disputed
           At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                 Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims
          No                                                      Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                   Other. Specify




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 4.7       Midland Credit Management                              Last 4 digits of account number                                                                $0.00
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?
           8875 Aero Dr Ste 200
           San Diego, CA 92123-2255
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims
           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify

 4.8       Navient                                                Last 4 digits of account number       4451                                              $44,742.00
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?           10/01/2008
           PO Box 9655
           Wilkes Barre, PA 18773-9655
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims

           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify

 4.9       PCPHWD/Sheridan Office                                 Last 4 digits of account number       3600                                                  $185.00
           Nonpriority Creditor's Name
                                                                  When was the debt incurred?
           2488 N University Dr
           Pembroke Pines, FL 33024-3624
           Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                          Contingent
            Debtor 2 only                                         Unliquidated
            Debtor 1 and Debtor 2 only                            Disputed
            At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                Student loans
           debt                                                    Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                        report as priority claims
           No                                                     Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                  Other. Specify

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.


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 Debtor 1 Stewart, Lillian Rosario                                                                         Case number (if know)       9:17-bk-12567
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                 Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 30285                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130-0285
                                                             Last 4 digits of account number                      2806
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 DADE COUNTY CIRCUIT COURT                                   Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
                                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
                                                             Last 4 digits of account number                      CA22
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 First National Credit Card/Legacy                           Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 First National Credit Card                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 5097
 Sioux Falls, SD 57117-5097
                                                             Last 4 digits of account number                      5467
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Merrick Bank/Geico Card                                     Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 23356                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Pittsburgh, PA 15222-6356
                                                             Last 4 digits of account number                      7057
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Navient                                                     Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 Attn: Claims Dept                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 9500
 Wilkes Barre, PA 18773-9500
                                                             Last 4 digits of account number                      4451

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.      $                         0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.      $                         0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.      $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.      $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.      $                         0.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.      $                         0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.      $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.      $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                  $                 114,256.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.      $                 114,256.00




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  Exhibit 6.1
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  Exhibit 7.1
                                Case
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              Fill in this information to identify your case:

 Debtor 1                 Alexandra Ocampo
                          First Name                        Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name             Last Name


                                                    SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:            DIVISION

 Case number           18-21064
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                          amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?

      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.




Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 1
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  Exhibit 7.2
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      Fill in this information to identify your case:

 Debtor 1                   Alexandra Ocampo
                            First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


                                                      SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:              DIVISION

 Case number           18-21064
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim          Priority              Nonpriority
                                                                                                                                            amount                amount
 2.1          Internal Revenue Service                             Last 4 digits of account number                             $801.00                 $801.00                  $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?
              PO Box 7346
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                              Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes




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 Debtor 1 Ocampo, Alexandra                                                                              Case number (if know)        18-21064

 2.2       Special Asst. U.S. Attorney                          Last 4 digits of account number                               $0.00              $0.00      $0.00
           Priority Creditor's Name
                                                                When was the debt incurred?
           1000 S. Pine Island Road #300
           Fort Lauderdale, FL 333240000
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                        Contingent
        Debtor 1 only                                           Unliquidated
         Debtor 2 only                                          Disputed
         Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

         At least one of the debtors and another                Domestic support obligations
         Check if this claim is for a community debt           Taxes and certain other debts you owe the government
        Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
        No                                                      Other. Specify
         Yes

 2.3       U.S. Attorney General                                Last 4 digits of account number                               $0.00              $0.00      $0.00
           Priority Creditor's Name
                                                                When was the debt incurred?
           950 Pennsylvania Ave NW
           Washington, DC 20530-0009
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                        Contingent
        Debtor 1 only                                           Unliquidated
         Debtor 2 only                                          Disputed
         Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

         At least one of the debtors and another                Domestic support obligations
         Check if this claim is for a community debt           Taxes and certain other debts you owe the government
        Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
        No                                                      Other. Specify
         Yes

 2.4       United States Attorney                               Last 4 digits of account number                               $0.00              $0.00      $0.00
           Priority Creditor's Name
                                                                When was the debt incurred?
           99 NE 4th St
           Miami, FL 33132-2131
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                        Contingent
        Debtor 1 only                                           Unliquidated
         Debtor 2 only                                          Disputed
         Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

         At least one of the debtors and another                Domestic support obligations
         Check if this claim is for a community debt           Taxes and certain other debts you owe the government
        Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
        No                                                      Other. Specify
         Yes
 Part 2:      List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.



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 Debtor 1 Ocampo, Alexandra                                                                                 Case number (if know)          18-21064

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        Cap One                                                  Last 4 digits of account number         8106                                                             $0.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             2005-06
            PO Box 5253
            Carol Stream, IL 60197-5253
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Revolving account


 4.2        Certified Collection Bureau                              Last 4 digits of account number                                                                        $50.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            PO Box 1750
            Whitehouse Station, NJ 08889-1750
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify

 4.3        Convergent Outsourcing                                   Last 4 digits of account number         1340                                                         $136.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             2015-08
            800 SW 39th St
            Renton, WA 98057-4975
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Open account



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 4.4      Credit One Bank NA                                    Last 4 digits of account number       8065                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2013-09-27
          PO Box 98872
          Las Vegas, NV 89193-8872
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.5      Credit One Bank NA                                    Last 4 digits of account number       1665                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2013-09-27
          PO Box 98872
          Las Vegas, NV 89193-8872
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.6      Exquisite Hm                                          Last 4 digits of account number       1192                                        unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2013-03-28
          622 Bloomfield Ave
          Bloomfield, NJ 07003-2521
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account




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 4.7      Exuisite Home Products                                Last 4 digits of account number                                                   $190.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          622 Bloomfield Ave
          Bloomfield, NJ 07003-2521
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.8      Lvnv Funding LLC                                      Last 4 digits of account number       8065                                          $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2015-03-11
          PO Box 1269
          Greenville, SC 29602-1269
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account


 4.9      Mandees                                               Last 4 digits of account number       5090                                          $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           1996-05-15
          401 Hackensack Ave
          Hackensack, NJ 07601-6411
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.10     Memorial Hospital                                     Last 4 digits of account number       8239                                        $350.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 2856
          Raleigh, NC 27602-2856
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.11     North Jersey Fcu                                      Last 4 digits of account number       0104                                          $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2007-08
          711 Union Blvd
          Totowa, NJ 07512-2207
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.12     Online Collections                                    Last 4 digits of account number       9785                                        $429.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2012-06
          PO Box 1489
          Winterville, NC 28590-1489
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account




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 4.13     Portfolio Recov Assoc                                 Last 4 digits of account number       1603                                        $3,540.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017-06
          120 Corporate Blvd Ste 100
          Norfolk, VA 23502-4952
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account


 4.14     Profburcol                                            Last 4 digits of account number       7005                                         $132.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017-05-03
          5295 Dtc Pkwy
          Greenwood Village, CO 80111-2752
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account


 4.15     Syncb/lenscrafters                                    Last 4 digits of account number       1990                                            $0.00
          Nonpriority Creditor's Name
          C/o                                                   When was the debt incurred?           2012-01-06
          PO Box 965036
          Orlando, FL 32896-5036
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.16      union surgery center                                    Last 4 digits of account number                                                             $16,000.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?
           1000 Galloping Hill Rd
           Union, NJ 07083-7989
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                           Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                 Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims
           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Andril and Espinosa                                         Line 4.16 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 534 Westfield Ave                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Elizabeth, NJ 07208-1623
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Overlook hospital                                           Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 3533 99 Beauvoir Ave                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Summit, NJ 07901
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Pressler and Pressler LLP                                   Line 4.16 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 7 Entin Rd                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Parsippany, NJ 07054-5020
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Sage Law Offices                                            Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 1300 Sawgrass Corporate Pkwy #                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 140
 Sunrise, FL 33323-2826
                                                             Last 4 digits of account number                      8239

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                 Total Claim
                        6a.   Domestic support obligations                                                  6a.      $                           0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.      $                         801.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.      $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.      $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.      $                         801.00

                                                                                                                                 Total Claim
                        6f.   Student loans                                                                 6f.      $                           0.00
 Total claims


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  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                   6g.     $                   0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts       6h.     $                   0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                           $              20,827.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.     $              20,827.00




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      Fill in this information to identify your case:

 Debtor 1                   Richard Carmenaty
                            First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


                                                      SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:              DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim           Priority             Nonpriority
                                                                                                                                             amount               amount
 2.1          Internal Revenue Service                             Last 4 digits of account number                                   $0.00               $0.00                  $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?
              PO Box 7346
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                              Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes




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 2.2       Special Asst. U.S. Attorney                          Last 4 digits of account number                               $0.00   $0.00       $0.00
           Priority Creditor's Name
                                                                When was the debt incurred?
           1000 S. Pine Island Road #300
           Fort Lauderdale, FL 333240000
           Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                        Contingent
        Debtor 1 only                                           Unliquidated
         Debtor 2 only                                          Disputed
         Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

         At least one of the debtors and another                Domestic support obligations
         Check if this claim is for a community debt           Taxes and certain other debts you owe the government
        Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
        No                                                      Other. Specify
         Yes

 2.3       U.S. Attorney General                                Last 4 digits of account number                               $0.00   $0.00       $0.00
           Priority Creditor's Name
                                                                When was the debt incurred?
           950 Pennsylvania Ave NW
           Washington, DC 20530-0009
           Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                        Contingent
        Debtor 1 only                                           Unliquidated
         Debtor 2 only                                          Disputed
         Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

         At least one of the debtors and another                Domestic support obligations
         Check if this claim is for a community debt           Taxes and certain other debts you owe the government
        Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
        No                                                      Other. Specify
         Yes

 2.4       United States Attorney                               Last 4 digits of account number                               $0.00   $0.00       $0.00
           Priority Creditor's Name
                                                                When was the debt incurred?
           99 NE 4th St
           Miami, FL 33132-2131
           Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                        Contingent
        Debtor 1 only                                           Unliquidated
         Debtor 2 only                                          Disputed
         Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

         At least one of the debtors and another                Domestic support obligations
         Check if this claim is for a community debt           Taxes and certain other debts you owe the government
        Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
        No                                                      Other. Specify
         Yes
 Part 2:      List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.



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 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        Ars Account Resolution                                   Last 4 digits of account number         2475                                                          $255.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             2015-02
            1643 NW 136th Ave Bldg H
            City of Sunrise, FL 33323-2857
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Open account


 4.2        Capital One                                              Last 4 digits of account number         4930                                                             $0.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             2010-11-06
            PO Box 30253
            Salt Lake City, UT 84130-0253
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Revolving account


 4.3        Capital One Auto Finan                                   Last 4 digits of account number         1001                                                     $14,487.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             2015-04
            7933 Preston Rd
            Plano, TX 75024-2302
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Installment account - REPO



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 4.4      Chrysler Capital                                      Last 4 digits of account number       1000                                        $19,615.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2013-07
          PO Box 961275
          Fort Worth, TX 76161-0275
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account repo


 4.5      Convergent Outsourcing, Inc                           Last 4 digits of account number       9206                                          $400.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 9004
          Renton, WA 98057-9004
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.6      Dept of Ed/Navient                                    Last 4 digits of account number       1211                                        $55,226.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2015-12
          PO Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account




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 4.7      Dept of Ed/Navient                                    Last 4 digits of account number       0502                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2008-05
          PO Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.8      Dept of Ed/Navient                                    Last 4 digits of account number       0502                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2008-05
          PO Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.9      Dept of Ed/Navient                                    Last 4 digits of account number       0708                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2008-07
          PO Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account




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 4.10     Dept of Ed/Navient                                    Last 4 digits of account number       0217                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2009-02
          PO Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.11     Dept of Ed/Navient                                    Last 4 digits of account number       0217                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2009-02
          PO Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.12     Dept of Ed/Navient                                    Last 4 digits of account number       0822                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2011-08
          PO Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account




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 4.13     Dept of Ed/Navient                                    Last 4 digits of account number       0822                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2011-08
          PO Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.14     Dept of Ed/Navient                                    Last 4 digits of account number       0423                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2012-04
          PO Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.15     Dept of Ed/Navient                                    Last 4 digits of account number       0331                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2014-03
          PO Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account




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 4.16     Dept of Ed/Navient                                    Last 4 digits of account number       0331                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2014-03
          PO Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.17     Dept of Ed/Navient                                    Last 4 digits of account number       0423                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2012-04
          PO Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.18     Diversified Consultant                                Last 4 digits of account number       6048                                        $4,866.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2019-01
          PO Box 551268
          Jacksonville, FL 32255-1268
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account




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 4.19     Enhanced Recovery Co L                                Last 4 digits of account number       1874                                        $11,992.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2018-05
          8014 Bayberry Rd
          Jacksonville, FL 32256-7412
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account


 4.20     Macys/dsnb                                            Last 4 digits of account number       7382                                         $1,958.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2012-02
          PO Box 8218
          Mason, OH 45040-8218
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.21     Merrick Bank Corp                                     Last 4 digits of account number       1654                                         $1,628.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2015-07
          PO Box 9201
          Old Bethpage, NY 11804-9001
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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 4.22     Navient                                               Last 4 digits of account number       1018                                            $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2002-10
          PO Box 9500
          Wilkes Barre, PA 18773-9500
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.23     Nissan Infinit                                        Last 4 digits of account number                                                   unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          PO Box 660366
          Dallas, TX 75266-0366
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      REPO


 4.24     Plain Green LLc                                       Last 4 digits of account number                                                   $1,600.00
          Nonpriority Creditor's Name
          c/o Bryant Hondge Associates LLC                      When was the debt incurred?
          373 S Willow St # 121
          Manchester, NH 03103-5751
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify




Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 10 of 13
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 Debtor 1 Carmenaty, Richard                                                                        Case number (if known)

 4.25     Portfolio Recov Assoc                                 Last 4 digits of account number       2609                                        $2,092.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017-08
          120 Corporate Blvd Ste 100
          Norfolk, VA 23502-4952
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account


 4.26     Portfolio Recov Assoc                                 Last 4 digits of account number       3932                                        $1,643.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017-08
          120 Corporate Blvd Ste 100
          Norfolk, VA 23502-4952
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account


 4.27     Space Coast Credit Uni                                Last 4 digits of account number       0290                                        $1,024.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2013-08
          8045 N Wickham Rd
          Melbourne, FL 32940-7920
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Open account




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 Debtor 1 Carmenaty, Richard                                                                              Case number (if known)

 4.28      Syncb/amazon                                            Last 4 digits of account number          8598                                                $1,111.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?              2015-04
           PO Box 965015
           Orlando, FL 32896-5015
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                           Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                 Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims
           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify      Revolving account


 4.29      VW Credit                                               Last 4 digits of account number                                                             $11,372.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?
           2333 Waukegan Rd
           Deerfield, IL 60015-5508
           Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                           Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                 Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify      REPO

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 AT&T Mobility                                               Line 4.19 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 536219                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30353-6219
                                                             Last 4 digits of account number                      1874

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                 Total Claim
                        6a.   Domestic support obligations                                                  6a.      $                         0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.      $                         0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.      $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.      $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.      $                         0.00

                                                                                                                                 Total Claim

Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 12 of 13
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 Debtor 1 Carmenaty, Richard                                                                         Case number (if known)

                        6f.   Student loans                                                            6f.     $                    0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.     $                    0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.     $                    0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                            $              129,269.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.     $              129,269.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 13 of 13
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Exhibit 10.1
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              Fill in this information to identify your case:

 Debtor 1                    Jason A Hammond
                             First Name                     Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name                     Last Name


                                                    SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:            DIVISION

 Case number            18-18307
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

                                                                                                                                  Fla. Const. Art. X, §4(a)(1);
      1132 NW 130TH AVE
                                                                   $535,971.00                                          $1.00
                                                                                                                                  Fla. Stat.§§ 222.01, 222.02
      Pembroke Pines FL, 33028-2732                                                          100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                             any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 1
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Exhibit 10.2
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              Fill in this information to identify your case:

 Debtor 1                   Jason A Hammond
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


                                                     SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:             DIVISION

 Case number           18-18307
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Bk of Amer                               Describe the property that secures the claim:               $535,971.36              $535,971.00                      $0.36
         Creditor's Name
                                                  1132 NW 130TH AVE, Pembroke
                                                  Pines, FL 33028-2732
                                                  As of the date you file, the claim is: Check all that
         4909 Savarese Cir                        apply.
         Tampa, FL 33634                           Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          2007-08                   Last 4 digits of account number        6934

 2.2     Capital One Auto Finan                   Describe the property that secures the claim:                 $34,187.00                      $0.00         $34,187.00
         Creditor's Name
                                                  2014 Infinity
                                                  QX60
                                                  As of the date you file, the claim is: Check all that
         3901 Dallas Pkwy                         apply.
         Plano, TX 75093                           Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          2017-12                   Last 4 digits of account number        1001

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
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 Debtor 1 Jason A Hammond                                                                          Case number (if know)          18-18307
             First Name                Middle Name                 Last Name




 Add the dollar value of your entries in Column A on this page. Write that number here:                         $570,158.36
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                        $570,158.36

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.1
        Cabanas Law Firm
        18503 Pines Blvd # 301                                                             Last 4 digits of account number   6934
        Pembroke Pines, FL 33029

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.1
        Eisnger Brown Lewis Frankel and Chaiet
        4000 Hollywood Blvd # 265S                                                         Last 4 digits of account number   6934
        Hollywood, FL 33021

        Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.1
        Gilbert Garcia Law Group
        2005 Pan Am Cir # 110                                                              Last 4 digits of account number   6934
        Tampa, FL 33607-2380




Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                              page 2 of 2
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Exhibit 10.3
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      Fill in this information to identify your case:

 Debtor 1                   Jason A Hammond
                            First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


                                                      SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:              DIVISION

 Case number           18-18307
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
       Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim           Priority             Nonpriority
                                                                                                                                             amount               amount
 2.1          Internal Revenue Service                             Last 4 digits of account number                                   $0.00               $0.00                  $0.00
              Priority Creditor's Name
                                                                   When was the debt incurred?
              PO Box 7346
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                           Contingent
        Debtor 1 only                                              Unliquidated
         Debtor 2 only                                             Disputed
         Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

         At least one of the debtors and another                   Domestic support obligations
         Check if this claim is for a community debt              Taxes and certain other debts you owe the government
        Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
        No                                                         Other. Specify
         Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 12
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 Debtor 1 Hammond, Jason A                                                                               Case number (if know)        18-18307

 2.2       Special Asst. U.S. Attorney                          Last 4 digits of account number                               $0.00              $0.00       $0.00
           Priority Creditor's Name
                                                                When was the debt incurred?
           1000 S. Pine Island Road #300
           Fort Lauderdale, FL 333240000
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                        Contingent
        Debtor 1 only                                           Unliquidated
         Debtor 2 only                                          Disputed
         Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

         At least one of the debtors and another                Domestic support obligations
         Check if this claim is for a community debt           Taxes and certain other debts you owe the government
        Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
        No                                                      Other. Specify
         Yes

 2.3       U.S. Attorney General                                Last 4 digits of account number                               $0.00              $0.00       $0.00
           Priority Creditor's Name
                                                                When was the debt incurred?
           950 Pennsylvania Ave NW
           Washington, DC 20530-0009
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                        Contingent
        Debtor 1 only                                           Unliquidated
         Debtor 2 only                                          Disputed
         Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

         At least one of the debtors and another                Domestic support obligations
         Check if this claim is for a community debt           Taxes and certain other debts you owe the government
        Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
        No                                                      Other. Specify
         Yes

 2.4       United States Attorney                               Last 4 digits of account number                               $0.00              $0.00       $0.00
           Priority Creditor's Name
                                                                When was the debt incurred?
           99 NE 4th St
           Miami, FL 33132-2131
           Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                        Contingent
        Debtor 1 only                                           Unliquidated
         Debtor 2 only                                          Disputed
         Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

         At least one of the debtors and another                Domestic support obligations
         Check if this claim is for a community debt           Taxes and certain other debts you owe the government
        Is the claim subject to offset?                          Claims for death or personal injury while you were intoxicated
        No                                                      Other. Specify
         Yes
 Part 2:      List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.



Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 12
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 Debtor 1 Hammond, Jason A                                                                                  Case number (if know)          18-18307

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1        Cbna                                                     Last 4 digits of account number         4192                                                             $0.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             2005-05
            PO Box 6497
            Sioux Falls, SD 57117
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims
            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Revolving account


 4.2        Credit One Bank NA                                       Last 4 digits of account number         5213                                                       $1,070.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             2016-09
            PO Box 98875
            Las Vegas, NV 89193
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Revolving account


 4.3        Credit One Bank NA                                       Last 4 digits of account number         6517                                                          $909.00
            Nonpriority Creditor's Name
                                                                     When was the debt incurred?             2017-09
            PO Box 98875
            Las Vegas, NV 89193
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                    Other. Specify      Revolving account



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 4.4      Dade County Fcu                                       Last 4 digits of account number       0002                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2016-01
          1500 NW 107th Ave
          Doral, FL 33172
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.5      Dade County Fcu                                       Last 4 digits of account number       0100                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2013-03
          1500 NW 107th Ave
          Doral, FL 33172
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.6      Dade County Fcu                                       Last 4 digits of account number       0103                                           $0.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2005-10
          1500 NW 107th Ave
          Doral, FL 33172
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account




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 4.7      Dept of Ed/Navient                                    Last 4 digits of account number       0813                                        $14,551.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2012-08
          PO Box 9635
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.8      Dept of Ed/Navient                                    Last 4 digits of account number       1228                                        $14,195.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2012-12
          PO Box 9635
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.9      Dept of Ed/Navient                                    Last 4 digits of account number       0506                                        $13,897.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2013-05
          PO Box 9635
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account




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 4.10     Dept of Ed/Navient                                    Last 4 digits of account number       1230                                        $9,489.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2010-12
          PO Box 9635
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.11     Dept of Ed/Navient                                    Last 4 digits of account number       0509                                        $9,160.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2011-05
          PO Box 9635
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.12     Dept of Ed/Navient                                    Last 4 digits of account number       0816                                        $9,025.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2011-08
          PO Box 9635
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account




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 4.13     Dept of Ed/Navient                                    Last 4 digits of account number       1227                                        $8,833.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2011-12
          PO Box 9635
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.14     Dept of Ed/Navient                                    Last 4 digits of account number       0430                                        $8,719.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2012-04
          PO Box 9635
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.15     Dept of Ed/Navient                                    Last 4 digits of account number       1227                                        $5,563.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2011-12
          PO Box 9635
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account




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 4.16     Dept of Ed/Navient                                    Last 4 digits of account number       0430                                        $5,563.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2012-04
          PO Box 9635
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.17     Dept of Ed/Navient                                    Last 4 digits of account number       0816                                        $5,497.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2011-08
          PO Box 9635
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.18     Dept of Ed/Navient                                    Last 4 digits of account number       1230                                        $5,485.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2010-12
          PO Box 9635
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account




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 4.19     Dept of Ed/Navient                                    Last 4 digits of account number       0509                                        $5,485.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2011-05
          PO Box 9635
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.20     Merrick Bank Corp                                     Last 4 digits of account number       5601                                        $1,534.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2017-09
          PO Box 9201
          Old Bethpage, NY 11804
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account


 4.21     Nelnet Loans                                          Last 4 digits of account number       9824                                        $2,303.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2004-07
          3015 S Parker Rd
          Aurora, CO 80014
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account




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 4.22     Nelnet Loans                                          Last 4 digits of account number       9924                                         $631.00
          Nonpriority Creditor's Name
                                                                When was the debt incurred?           2004-07
          3015 S Parker Rd
          Aurora, CO 80014
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Installment account


 4.23     Sergio Cabanas, Esq.                                  Last 4 digits of account number                                                   unknown
          Nonpriority Creditor's Name
                                                                When was the debt incurred?
          18503 Pines Blvd
          Pembroke Pines, FL 33029-1404
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify

 4.24     Syncb/City Furniture                                  Last 4 digits of account number       8020                                        $3,884.00
          Nonpriority Creditor's Name
          C/o                                                   When was the debt incurred?           2017-08
          PO Box 965036
          Orlando, FL 32896
          Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                         Contingent
           Debtor 2 only                                        Unliquidated
           Debtor 1 and Debtor 2 only                           Disputed
           At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community               Student loans
          debt                                                   Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims
          No                                                    Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                 Other. Specify      Revolving account




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                                Case
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 Debtor 1 Hammond, Jason A                                                                              Case number (if know)            18-18307

 4.25      Syncb/Walmart DC                                        Last 4 digits of account number       7040                                              $2,678.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?           2017-08
           PO Box 965024
           Orlando, FL 32896
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                           Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                 Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims
           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify      Revolving account


 4.26      Tbom-santander Consume                                  Last 4 digits of account number       2282                                                    $0.00
           Nonpriority Creditor's Name
                                                                   When was the debt incurred?           2014-04-06
           PO Box 961245
           Fort Worth, TX 76161
           Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                           Contingent
            Debtor 2 only                                          Unliquidated
            Debtor 1 and Debtor 2 only                             Disputed
            At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                 Student loans
           debt                                                     Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                         report as priority claims

           No                                                      Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                   Other. Specify      Revolving account

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                 Total Claim
                        6a.   Domestic support obligations                                               6a.       $                           0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated             6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.       $                           0.00

                                                                                                                                 Total Claim
                        6f.   Student loans                                                              6f.       $                           0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.       $                           0.00


Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 11 of 12
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 Debtor 1 Hammond, Jason A                                                                           Case number (if know)   18-18307
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                           $              128,471.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.     $              128,471.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 12 of 12
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              Fill in this information to identify your case:

 Debtor 1                 Jason A Hammond
                          First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name              Last Name


                                                      SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:              DIVISION

 Case number           18-18307
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules.     You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                     State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                      Page 1 of 1
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              Fill in this information to identify your case:

 Debtor 1                   Jason A Hammond
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


                                                         SOUTHERN DISTRICT OF FLORIDA, FORT LAUDERDALE
 United States Bankruptcy Court for the:                 DIVISION

 Case number            18-18307
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                      Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Jason A Hammond

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA, FORT
                                              LAUDERDALE DIVISION

Case number               18-18307                                                                         Check if this is:
(If known)
                                                                                                              An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation              police officer                               Guidance Counselor
       Include part-time, seasonal, or
       self-employed work.                   Employer's name         Miami Dade County                            MDCPS

       Occupation may include student or Employer's address
                                                                     111 NW 1st St                                155 NE 15th St # P104e
       homemaker, if it applies.
                                                                     Miami, FL 33128-1902                         Miami, FL 33132-1316

                                             How long employed there?           18 years                                   20 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $       11,264.50         $         5,376.60

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $    11,264.50                $   5,376.60




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
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Debtor 1    Hammond, Jason A                                                                        Case number (if known)    18-18307


                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $     11,264.50       $         5,376.60

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $      2,575.11   $               865.03
      5b.    Mandatory contributions for retirement plans                                    5b.        $        255.19   $               153.71
      5c.    Voluntary contributions for retirement plans                                    5c.        $          0.00   $                50.00
      5d.    Required repayments of retirement fund loans                                    5d.        $          0.00   $                 0.00
      5e.    Insurance                                                                       5e.        $        838.97   $                 0.00
      5f.    Domestic support obligations                                                    5f.        $          0.00   $                 0.00
      5g.    Union dues                                                                      5g.        $         77.00   $               119.10
      5h.    Other deductions. Specify: life Ins                                             5h.+       $          7.86 + $               203.32
             charitable cont                                                                            $         50.69   $                 0.00
             ltd                                                                                        $         17.20   $                 0.00
             STD                                                                                        $          0.00   $                11.20
             hospitalization                                                                            $          0.00   $                 5.96
             id theft ins                                                                               $          0.00   $                16.74
             401K loan                                                                                  $          0.00   $                81.72
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $          3,822.02       $          1,506.78
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          7,442.48       $          3,869.82
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00   $                0.00
      8b. Interest and dividends                                                             8b.        $              0.00   $                0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00   $                0.00
      8d. Unemployment compensation                                                          8d.        $              0.00   $                0.00
      8e.    Social Security                                                                 8e.        $              0.00   $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                0.00   $                    0.00
      8g. Pension or retirement income                                                       8g. $                 0.00   $                    0.00
      8h. Other monthly income. Specify: tax refund                                          8h.+ $              369.08 + $                    0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $            369.08       $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            7,811.56 + $       3,869.82 = $         11,681.38
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.     +$            0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.        $      11,681.38
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                Jason A Hammond                                                                      Check if this is:
                                                                                                              An amended filing
Debtor 2                                                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA, FORT                                         MM / DD / YYYY
                                          LAUDERDALE DIVISION

Case number           18-18307
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s      Does dependent
                                                                                                                                        live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            Daughter                             18              Yes
                                                                                                                                         No
                                                                                   son                                  16              Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                              0.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                           0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                           0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                         200.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                         200.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                           0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Hammond, Jason A                                                                          Case number (if known)       18-18307

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              289.00
      6b. Water, sewer, garbage collection                                                     6b. $                                               100.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              470.00
      6d. Other. Specify: gas                                                                  6d. $                                                60.00
7.    Food and housekeeping supplies                                                             7. $                                            1,000.00
8.    Childcare and children’     s education costs                                              8. $                                              200.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                              100.00
10.   Personal care products and services                                                      10. $                                               300.00
11.   Medical and dental expenses                                                              11. $                                                60.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               500.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               200.00
14.   Charitable contributions and religious donations                                         14. $                                               200.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                  0.00
      15b. Health insurance                                                                   15b. $                                                  0.00
      15c. Vehicle insurance                                                                  15c. $                                                  0.00
      15d. Other insurance. Specify:                                                          15d. $                                                  0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               338.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                 0.00
      17c. Other. Specify: timeshare                                                          17c. $                                               125.00
      17d. Other. Specify: spouse student loans                                               17d. $                                                80.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                 0.00
19.   Other payments you make to support others who do not live with you.                           $                                              250.00
      Specify: help to eldery parents                                                          19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                 0.00
      20b. Real estate taxes                                                                  20b. $                                                 0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                 0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                 0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                 0.00
21.   Other: Specify:        bank fees                                                         21. +$                                               30.00
      NFS CC                                                                                        +$                                             400.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       5,102.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       5,102.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                             11,681.38
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                             5,102.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                               6,579.38

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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NOTICE OF UNSWORN AND UNVERIFIED DOCUMENTS AND
      OF SUSPENSION OF ATTORNEY MAITE DIAZ
        Notice is hereby given that an Order was entered on June 25, 2019, in the case of In re

Aldo Pina, Case No. 18-15928-JKO, which found that Attorney Maite Diaz has engaged in a

consistent practice of filing Schedules and Statements of Financial Affairs which were neither

seen nor signed by the respective Debtors in that case and in more than 100 other cases filed by

Attorney Maite Diaz, all in violation of applicable statutes and rules. That practice may have

occurred in this case.


        Attorney Maite Diaz has been suspended from practice before this Court for a period of

two years commencing August 1, 2019. Attorney Maite Diaz has been referred to the United

States District Court and to The Florida Bar with a recommendation that she be DISBARRED.

Attorney Maite Diaz has been referred to the Office of the United States Trustee and to the

United States Attorney for such further investigation as those agencies see fit.


        Parties in interest may wish to consult counsel to advise them of the implications, if any,

of the findings of the Court in the case of In re Aldo Pina and of the applicability of those

findings to this case.
